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EXhibit M

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ARTICLES

COMPELLED COOPERATION AND
THE NEW CORPORATE
CRIMINAL PROCEDURE

LlsA KERN GRIFFIN*

ln response to the broad scope of the Enron-era frauds, the federal government has
adopted novel strategies to investigate and prosecute corporate crimes. This Article
examines the use of stringent cooperation requirements and deferred prosecution
agreements, pursuant to which corporate internal investigations have become exten-
sions of government enforcement efforts At the same time, liability has shifted
markedly to the employee level.' Over one thousand individuals have been indicted
and convicted since the July 2002 creation of the Corporate Fraud Task Force,
while few corporations have been charged. 'I`he convergence of corporate coopera-
tion doctrine with the focus on individual targets results in significant unfairness for
employees who are compelled to incriminate themselves in the context of internal
investigations that are directed by the governmenl. Because of the awkward
partnering of public governmental investigations with private corporate compliance
efforts, that normative burden on employees may not be offset by enforcement ben-
efits This Article suggests that the government’s application of a civil regulatory
model to criminal cases creates distortions because individual liberty rather than a
financial sanction is at stake, because prosecutors do not engage in negotiated gov-
ernance, and because judicial oversight at the investigative stage is minimal. This
Article also addresses the constitutional implications of outsourcing corporate
criminal investigations and argues that employees interviewed by internal in vestiga-
tors pursuant to the terms of a pending deferred prosecution agreement should
enjoy immunity analogous to the Garrity shield that protects public employees
Several strands of Fifth Amendment theory are consistent with the argument that
economic pressure, such as the threat of job loss, can rise to the level of constitu-
tionally significant coercion. When that pressure is brought to bear pursuant to a

 

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deferred prosecution agreement it is delegated coercion, but may be attributed to
the government as state action

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INTRODUCHON

In response to the broad scope of the Enron-era frauds, the fed-
eral government has adopted novel strategies to manage the com-
plexity of corporate criminal investigations Chief among these
innovations are the cooperation requirements set forth in the Depart-
ment of Justice’s (DOJ) Thompson Memorandum (along with its suc-
cessor, the McNulty Memorandum) and the increased use of deferred
prosecution agreements (DPAS) between prosecutors and corpora~
tions. Under its current practices, the federal government has
deferred or declined to bring charges against firms themselves and has
shifted liability to the employee level, indicting and convicting over
one thousand individuals since the July 2002 creation of the Corporate
Fraud Task Force. This Article explores a gap in the constitutional

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protections afforded those individual defendants Prosecutors’ depen-
dence on compelled cooperation is expedient but has unexamined
consequences a bypass around corporate employees’ Fifth Amend-
ment privilege against self-incrimination and the potential to degrade
self-regulation These costs arise, in part, from the merger of public
governmental investigations and private corporate compliance efforts

Part I details the policies and practices of the “war on corporate
crime,” with a particular focus on the factors set forth in the
Thompson and McNulty Memoranda and the terms of current DPAs.
Part II discusses how the convergence of cooperation doctrine with
the shift to individual targets results in significant unfairness for the
individual employees compelled to incriminate themselves in the con-
text of internal investigations directed by t~he government That nor-
mative burden may not be offset by enforcement benefits Although
effective corporate crime prevention often requires the cooperation of
insiders, the means used to obtain that cooperation may actually
increase the difficulty of detecting fraud by discouraging oversight and
minimizing recordkeeping Part III argues that the government’s pur-
suit of DPAs and application of a civil regulatory model to criminal
enforcement creates distortions because individual liberty rather than
a financial sanction is at stake, because prosecutors do not engage in
negotiated governance, and because judicial oversight at the investiga-
tive stage is minimal.

Part IV addresses the constitutional implications of outsourcing
corporate criminal investigations Employees interviewed by internal
investigators pursuant to the terms of a pending DPA should enjoy
immunity analogous to the Garrity shield that protects public
employees Several strands of Fifth Amendment theory are consistent
with the argument that economic pressure, such as the threat of job
loss, can rise to the level of constitutionally significant coercion.
When a DPA is pending, that pressure, even though delegated to cor~
porations to apply, may be attributed to the government as state
action. As a practical matter, extending immunity may also enhance
compliance investigations by privileging truthful information and the
interests of good-faith employees

I
THE NEW CORPORATE CRiMINAL PROCEDURE

This Part outlines the development of the government’s1 current
campaign against corporate crime and the structural and strategic

 

1 References to “the government” throughout this Article generally concern federal
prosecutors My focus here is on Department of Justice (DOJ) policies and practices and

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innovations adopted to prosecute it. The Corporate Fraud Task Force
was created by executive order in July 2002,2 in response to political
pressure to take action against corporate scandals-such as Enron’s
December 2001 bankruptcy and WorldCom’s $3.8 billion accounting
restatement in June 20023-and to mitigate the effect of such scandals
on investor confidence in a market already stressed by the events of
September 11, 2001. The Task Force’s initial stated mission was to
“strengthen the efforts of the Department of Justice and Federal,
State, and local agencies to investigate and prosecute significant finan-
cial crimes, recover the proceeds of such crimes, and ensure just and
effective punishment of those who perpetrate financial crimes.”4 The
rhetoric soon escalated, however, to a declaration of “war” on corpo-
rate crime,5 an early sign that the Task Force’s adversarial orientation
would not harmonize with the cooperative nature of civil regulatory
partnerships

A. The Culture of the War on Corporate Crime

Cycles of scandal and reform have been the norm in corporate
enforcement The 1970$ and early 19803 featured control strategies
that criminalized corporate behavior.6 The pendulum swung back in

 

recent federal prosecutions Other executive branch authorities of course, play a substan-
tial role in corporate fraud prevention. The SEC pursues about five hundred civil actions a
year, William R. McLucas et al., An Overview of SEC Enforcement, Remedial, and Settle-
ment Powers Before and After the Sarbanes-Oxley Act, in 351‘H ANNL)AL leTiTUTE 0N
SECURn'iEs REGuLATlON ]111, 1113 (PLI Corp. Law & Practice, Course Handbook Series
No. B-1396, 2003), and can call in both state and federal prosecutors through its Enforce-
ment Division. Active state attorneys general (in New York, for example), and self-regula-
tory organizations like the New York Stock Exchange, also play enforcement roles See id.
at 1113-14 (discussing federal and state authorities other than DO.I that have focused on
corporate fraud).

2 Exec. Order No. 13,271, 67 Fed. Reg. 46,091 (July 9, 2002)_

3 See Dale A. Oesterle, Early Observations on the Prosecutions of the Business Scan-
dals of 2002-2003: On Sideshow Prosecutions, Spitzer’s Clash with Donaldson Over Turf,
the Choice of Civil or Criminal Actions, and the 'I`ough Tactic of Coerced Cooperation, 1
OHio ST. J. CRtM. L. 443, 443 (2004) (describing magnitude of corporate scandals that were
revealed in 2002)_

4 Press Release, White House, Executive Order Establishment of the Corporate Fraud
Task Force (July 9, 2002), available at http://www.whitehouse.gov/news/releases/2002/07/20
020709-2.html.

5 See, e.g., Edward Iwata, Enron Task Force Faces Big Fressure to Deliver: Sorne Say
Squad ls Moving Too Slowly, but Case ls Huge, USA TODAY, Aug. 21, 2002, at B1 (early
reference to “Bush administration’s war on corporate crime").

6 See JAMES GoBERT & MAuRicE PUNCH, RETHiNKiNG CoRPoRATE CRIME 309-10
(2003) (discussing increased enforcement role of SEC in response to financial scandals of
197OS and insider trading of 19803). There are, in fact, interesting parallels between the
current climate and the early 1980s when a “pro-business administration was forced by
events, public opinion and political self-interest to respond to major financial scandals.”
!d. at 309.

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Statements received under these circumstances are obtained
through state action. By commanding a particular action, even if that
action is taken entirely by a private party, the government “put[s] its
own weight on the side of the proposed practice”3'16 and removes it
from the sphere of “private initiative.”317 The line is drawn between
government “acquiescence” (or inaction)318 and government “com-

mandment,”319 and cooperation requirements under DPAS fall on the
latter side of the line.

D. Strategic State Action

Pressure on employees via DPAs, stands alone as a constitutional
problem, but it is brought into sharper relief by the government’s
treatment of employee statements as obstruction. Recognizing state
action in internal investigations pursuant to DPAs makes sense not
only in light of the case law but also in light of the inconsistencies in
the government’s position. The government argues that employers
are “acting alone” when they obtain true and incriminating state-
ments but it also claims that government agents are functionally in
the room whenever employees make false statements

Recent prosecutions of minimizing or self-preserving statements
made to nongovernmental parties rest on a novel theory of obstruc-
tion. In a case involving false reporting of market information by
Greg Singleton, a gas trader employed by El Paso Merchant Energy,
the government added obstruction charges arising from statements
that Singleton made solely to an outside law firm retained by his
employer.320 According to the indictment, Singleton “did not dis-
close” to outside counsel, “falsely denied,” and “otherwise concealed”
the fact that employees had provided false information to trade publi-

 

action doctrine to argue that interviews by internal investigators effectively deputized by
the government and entirely within its control7 do not require basic Fifth Amendment
protections

316 Jackson v. Metro. Edison Co., 419 U.S. 345, 357 (1974); see also Peterson v. City of
Greenville, 373 U.S. 244, 248 (1963) (“When the State has commanded a particular result,
it . . . has removed that decision from the sphere of private choice.”).

317 Skinner, 489 U.S. at 615.

313 See, e.g., Flagg Bros v. Brooks, 436 U.S. 149, 164-66 (1978) (finding that ware-
houseman’s sale of goods to collect unpaid storage fees pursuant to New York’s Uniform
Commercial Code, did not constitute state action because statute permitted, but did not
require, remedy).

319 See Stone & Perino, supra note 286, at 471 (discussing “distinction between [govem-
ment] acquiescence and commandment”).

329 Superseding Indictment at 16-217 United States v. Singleton, Crim. No. H-06-080,
2006 WL 1984467 (S.D. Tex. July 14, 2006); see also Harkness & LaVeme, supra note 186
(“Recent developments confirm that the U.S. Department of Justice views the obstruction

of justice laws as reaching conduct that many had considered to be without criminal
consequence.").

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cations.321 There was no allegation that Singleton made misstate-
ments directly to the government; it was a case of exclusively
“private” lies.322

The Computer Associates investigation provides another
example of charges based upon alleged misrepresentations to internal
investigators CEO Sanjay Kumar pled guilty in April 2006 to eight
counts of securities fraud and obstruction of justice.-°’23 The latter
charges arose from false statements about accounting fraud to the
auditors and attorneys Kumar himself had hired.324 The government
brought the charges on the theory that, in lying to the company’s
outside counsel, Kumar had misled federal prosecutors because the
results of the internal investigation were passed on to the government
during subsequent cooperation efforts.325 The government learned of
the earlier statements only because the company agreed to a broad
waiver of its privilege and turned over all materials relevant to its pre-
vious compliance investigation The indictment effectively alleged
that, because the law firm was retained in part to facilitate coopera-
tion with the government, false justifications provided to attorneys
were “intended” to be presented to the government326 The govern-
ment also charged obstruction on the basis of Kumar’s failure to make
disclosures to outside counsel; in other words incomplete cooperation
is itself obstructive327 The cases against Kumar and codefendant

 

321 Superseding Indictment, supra note 320, at 20. The indictment alleges that the attor-
neys who met with Singleton told him that his comments could be disclosed to “third par-
ties including government agencies,” id., and consequently that statements he made to
those attorneys were tantamount to intentional obstruction ld. at 21. The indictment
does not, however, allege that Singleton “intended” or “knew” that his statements would
be supplied to government investigators only that he “believed” they would be. Harkness
& LaVerne, supra note 186. The Supreme Court, however, has rejected the related argu-
ment that a defendant who lied to a federal agent functionally lied to the grand jury simply
because the defendant knew of the pending investigation United States v. Aguilar, 515
U.S. 593, 601 (1995) (“[W]hat use will be made of false testimony given to an investigating
agent who has not been subpoenaed or otherwise directed to appear before the grand jury
is . . . speculative [and] . . . cannot be said to have the ‘natural and probable effect’ of
interfering with the due administration of justice.”).

322 Harkness & LaVerne, supra note 186. Singleton was convicted of one count of wire
fraud, but the jury deadlocked or found him not guilty on the false reporting and obstruc-
tion charges John C. Roper, Verdict, Deadlock in Gas Trading Case, Hous. CHRoN., Aug.
4, 2006, at 3.

323 Alex Berenson, Soji'ware ChiefAdmits to Guilt in Fraud Case, N.Y. T1MEs Apr. 25,
2006, at A1.

324 [d_

325 See id. (describing Kumar’s indictment for lying to lawyers and internal investiga-
tors); Alex Berenson, Case Expands Type of Lies Prosecutors Will Pursue, N.Y. T1MEs
May 17, 2004, at C1 (describing plea agreements of three Computer Associates executives
indicted for lying to internal investigators).

326 Superseding lndictment, supra note 63 at 23, 28.

327 See id. a122-23, 27.

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Stephen Richards former head of worldwide sales at Computer
Associates gathered force from the guilty pleas of three other
Computer Associates executives328 Each of those defendants was
convicted of obstruction of justice for statements made to company
counsel in the course of the internal investigation, and not one of the
indictments included allegations that they directly misled the govern-
ment or the grand jury-329 They were convicted of lying to prosecutors
without ever talking to them.330 Computer Associates General
Counsel Stephen Woghin was also indicted for “proxy obstruction”:
statements professing innocence made in a press release and false jus-
tifications made to inside auditors331

The earlier prosecution of three former executives of the Rite
Aid Corporation likewise illustrates the government’s willingness to
charge obstruction on the basis of statements made to internal investi-
gators or material information that is withheld from them. Defen-
dants Martin Grass and Eric Sorkin pled guilty to, among other things
obstruction of justice, and defendant Franklin Brown was convicted at
trial of conspiracy to obstruct justice, largely as a result of interactions
with internal investigators retained by Rite Aid.332

These prosecutions of false and incomplete statements to corpo-
rate counsel and auditors necessitate the finding of an official, public
dimension to the interactions that is of some intent to impede a gov-
ernment investigation or proceeding.333 The government thus stands

 

328 Kumar and Richards initially challenged the indictment, but the district court denied
their motion to dismiss the obstruction counts Memorandum and Order, United States v.
Kumar, CR No. 04-846 (E.D.N.Y. Feb. 21, 2006). ln doing so, the court rejected the defen-
dant’S argument that statements made to counsel employed by them to represent the com-
pany in connection with the government’s ongoing DOJ and SEC investigations had an
“insufficient nexus” with the judicial proceedings ld. at 8-9.

329 See Information at 8-10, 12-14, United States v. Kaplan, CR No. 04-330 (E.D.N.Y.
Apr. 8, 2004), available at http://www.usdoj.gov/dag/cftf/chargingdocs/kap|aninfo.pdf;
Information at 8-10, 13-14, United States v. Rivard, CR No. 04-329 (E.D.N.Y. Apr. 8,
2004), available at http://www.usdoj.gov/dag/cftf/chargingdocs/rivardinfo.pdf; lnformation
at 9413, 16-17, United States v. Zar, CR No. 04-331 (E.D.N.Y. Apr. 8, 2004) [hereinafter
Zar lnformation], available at http://www.usdoj.gov/dagjcftf/chargingclocs/zarinfo.pdf. For
a brief summary of the indictments see Berenson, supra note 325.

330 In the case of Computer Associates CFO Ira Zar, the government alleged that he
had armed outside counsel with “false justifications the purpose of which was to counter or
explain away evidence of the 35-day month practice.” Zar lnformation, supra note 329, at
10.

331 lnformation, supra note 121, at 8-9.

332 See Indictment at 76-80, United States v. Grass No. 1:02-CR-00146 (M.D. Pa. June
21, 2002), available at www.usdoj.gov/dag/cftf/chargingdocs/grassetalind.pdf (detailing
charges against Grass Sorkin, and Brown).

333 See 18 U.S.C. §1512(c)(2) (Supp. IV 2004) (imposing sanction on anyone who
“obstructs influences or impedes any official proceeding, or attempts to do so” (emphasis
added)). Tne false statement provision also requires that the information concern a matter

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in the shoes of internal investigators for strategic state action purposes
only: lt lays claim to the questions if the answers are obstructive but
denies any responsibility if an employee confesses truthfully and
under duress There is if anything a more compelling case for per-
ceiving the government’s weight on the scales in the coercive environ-
ment of corporate cooperation than there is for recognizing
obstruction by proxy in cases of organic false statements that may be
morally blameless.334

The larger questions raised by derivative obstruction offenses
merit further exploration; I have touched on them briefly to highlight
both the significance of the statements that employees may be com-
pelled to make in internal investigations and the incoherence of
declining to apply constitutional protections on state action grounds
Because this is the current charging paradigm, because the govern-
ment claims to be interchangeable with corporate investigators for
purposes of imposing liability for falsehoods and because prosecutors
prosecute the false denials minimizing responses and “failures to
report” that arise from internal investigations the government should
also accord the subjects of those investigations constitutional protec- 1
tions. Extending immunity, moreover, would lead to fewer false state-
ments and the obstruction that does take place would be a more
considered act of will, and therefore a more justifiable basis for
punishment

E. The Compliance-Enhancing Function of
Excluding Coerced Statements

Applying Garrity protections in the context of employee state-
ments compelled by an existing DPA would mean excluding those
statements and their fruits in subsequent individual prosecutions
Such immunity would preclude a shortcut that prosecutors currently

 

“within the jurisdiction . . . of the United States.” 18 U.S.C. § 1001 (2000); see also United
States v. Facchini, 874 F.2d 638, 641 (9th Cir. 1989) (defining “jurisdiction" in § 1001 as “a
direct relationship [that] obtains between the false statement and an authorized function of
a federal agency or department”).

334 See, e.g. , John Shepard Wiley Jr., Not Guilty by Reason of Blamelessness: Culpability
in Federal Criminal lnterpretation, 85 VA. L. REV. 1021, 1035-56, 1155-61 (1999) (positing
“mandatory culpability" rule of statutory interpretation that would require government to
prove “moral culpability” in cases where criminal statute “might reach conduct that is not
inevitably nefarious” and applying rule to cases concerning prosecutions of false state-
ments (citation omitted)); Stuntz, supra note 260, at 1242-61 (arguing that self-preserving
lies used to avoid more serious consequences are excusable and do not merit punishment).
But see Seidmann & Stein, supra note 222, at 453 n.79 (“[W]e do not see a good reason for
excusing Suspects’ and defendants7 perjury. . . . [S]uch lies harm not only ‘the system,1 but
also innocent suspects . . . [because they] enable the guilty to pool with the innocent.”).

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[Signed on June ]6, 1999]

 

M E M 0 R A N D U M

TO: All Component Heads and United States Attorneys
FROM: THE DEPUTY ATTORNEY GENERAL
SUBJECT: Bringing Criminal Charges Against Corporations

More and more often, federal prosecutors are faced with criminal conduct committed by or on behalf of
corporations The Department is committed to prosecuting both the culpable individuals and, When
appropriate, the corporation on whose behalf they acted.

The attached document, F ederal Prosecution ofCorporations, provides guidance as to what factors
should generally inform a prosecutor in making the decision Whether to charge a corporation in a
particular case. l believe these factors provide a useful framework in which prosecutors can analyze
their cases and provide a common vocabulary for them to discuss their decision with fellow
prosecutors Supervisors, and defense counsel. These factors are, however, not outcome-determinative
and are only guidelines Federal prosecutors are not required to reference these factors in a particular

case, nor are they required to document the weight they accorded specific factors in reaching their
decision.

The factors and the commentary were developed through the hard work of an ad hoc working group
coordinated by the Fraud Section of the Criminal Division and made up of representatives of United
States Attorneys' Offlces the Executive Office of United States Attorneys, and Divisions of the
Department with criminal law enforcement responsibilities Experience with these guidelines may lead
to changes or adjustments in the text and commentary Therefore, please forward any comments about
the guidelines as Well as instances in Which the factors proved useful or not useful in specific cases to
Shirah Neiman, Deputy United States Attorney, Southern District of New York, and Philip Urofsky,
Trial Attorney, Fraud Section, Criminal Division. l look forward to hearing comments from the field as
to the application of these factors in practice.

Encl.

Federal Prosecution of Corporations

I. Charging Corporations: General

A. General Principle: Corporations should not be treated leniently because of their artificial
nature nor should they be subject to harsher treatment Vigorous enforcement of the criminal
laws against corporate wrongdoers where appropriate, results in great benefits for law

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enforcement and the public, particularly in the area of white collar crime. lndicting
corporations for wrongdoing enables the government to address and be a force for positive
change of corporate culture, alter corporate behavior, and prevent, discover, and punish
white collar crime.

B. Comment: ln all cases involving corporate wrongdoing prosecutors should consider the
factors discussed herein First and foremost, prosecutors should be aware of the important
public benefits that may flow from indicting a corporation in appropriate cases For instance,
corporations are likely to take immediate remedial steps when one is indicted for criminal
conduct that is pervasive throughout a particular industry, and thus an indictment often
provides a unique opportunity for deterrence on a massive scale. ln addition, a corporate
indictment may result in specific deterrence by changing the culture of the indicted
corporation and the behavior of its employees Finally, certain crimes that carry with them a
substantial risk of great public harm,e.g., environmental crimes or financial frauds are by
their nature most likely to be committed by businesses and there may, therefore, be a
substantial federal interest in indicting the corporation

Charging a corporation however, does not mean that individual directors officers
employees or shareholders should not also be charged. Prosecution of a corporation is not a
substitute for the prosecution of criminally culpable individuals within or Without the
corporation Further, imposition of individual criminal liability on such individuals provides
a strong deterrent against future corporate wrongdoing

Corporations are "legal persons," capable of suing and being sued, and capable of
committing crimes Under the doctrine of respondeat superior, a corporation may be held
criminally liable for the illegal acts of its directors officers employees and agents To be
held liable for these actions the government must establish that the corporate agent's actions
(i) were within the scope of his duties and (ii) Were intended, at least in part, to benefit the
corporation ln all cases involving Wrongdoing by corporate agents prosecutors should
consider the corporation, as Well as the responsible individuals as potential criminal targets

Agents, however, may act for mixed reasons -- both for self-aggrandizement (both direct and
indirect) and for the benefit ofthe corporation, and a corporation may be held liable as long
as one motivation of its agent is to benefit the corporation. Thus, in United States v.
Automated Mea’ical Laboratories, 770 F.2d 399 (4th Cir. 1985), the court affirmed the
corporation's conviction for the actions of a subsidiary‘s employee despite its claim that the
employee was acting for his own benefit, namely his "ambitious nature and his desire to
ascend the corporate ladder." The court stated, "Partucci Was clearly acting in part to benefit
Al\/lL since his advancement Within the corporation depended on Al\/IL's Well-being and its
lack of difficulties With the FDA." Similarly, in United States v. Cincotta, 689 F.2d 238,
241-42 (lst Cir. 1982), the court held, "criminal liability may be imposed on the corporation
only Where the agent is acting Within the scope of his employment That, in turn, requires
that the agent be performing acts of the kind Which he is authorized to perform, and those
acts must be motivated -- at least in part -- by an intent to benefit the corporation." Applying
this test, the court upheld the corporation's conviction, notwithstanding the substantial
personal benefit reaped by its miscreant agents because the fraudulent scheme required
money to pass through the corporation's treasury and the fraudulently obtained goods were
resold to the corporation's customers in the corporation's name. As the court concluded,
"l\/lystic--not the individual defendants--was making money by selling oil that it had not paid

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for.

l\/Ioreover, the corporation need not even necessarily profit from its agent's actions for it to
be held liable. ln Automated Medical Laboratories, the Fourth Circuit stated:

[B]enefit is not a "touchstone of criminal corporate liability; benefit at best is an
evidential, not an operative, fact." Thus, whether the agent's actions ultimately
redounded to the benefit ofthe corporation is less significant than Whether the
agent acted with the intent to benefit the corporation The basic purpose of
requiring that an agent have acted With the intent to benefit the corporation
however, is to insulate the corporation from criminal liability for actions ofits
agents which be inimical to the interests of the corporation or Which may have
been undertaken solely to advance the interests of that agent or of a party other
than the corporation

ld. at 407 (emphasis added; quoting Old Monastery Co. v. United States, l47 F.2d 905, 908
(4th Cir.), cert. denied, 326 U.S. 734 (1945)).

II. Charging Corporations -- Factors to Be Considered

A. General Principle: Generally, prosecutors should apply the same factors in determining
whether to charge a corporation as they do With respect to individuals See U.S.A.l\/l. §
9-27.220, et seq. Thus, the prosecutor should Weigh all ofthe factors normally considered in
the sound exercise of prosecutorial judgment the sufficiency ofthe evidence, the likelihood
of success at trial, the probable deterrent, rehabilitative, and other consequences of
conviction and the adequacy of non-criminal approaches See id. However, due to the nature
of the corporate "person" some additional factors are present ln conducting an
investigation determining whether to bring charges and negotiating plea agreements
prosecutors should consider the following factors in reaching a decision as to the proper
treatment of a corporate target:

l.

The nature and seriousness ofthe offense, including the risk of harm to the public7 and
applicable policies and priorities if any, governing the prosecution of corporations for
particular categories of crime (see section lll,infra);

The pervasiveness of wrongdoing within the corporation including the complicity in
or condonation of, the wrongdoing by corporate management (see section lV, infra);
The corporations history of similar conduct, including prior criminal, civil, and
regulatory enforcement actions against it (see section V, infra);

The corporation's timely and voluntary disclosure of wrongdoing and its Willingness to
cooperate in the investigation of its agents including if necessary, the waiver of the
corporate attorney-client and Work product privileges (see section Vl, infra);

The existence and adequacy of the corporation's compliance program (see section Vll,
injra);

The corporation's remedial actions including any efforts to implement an effective
corporate compliance program or to improve an existing one_. to replace responsible
management, to discipline or terminate Wrongdoers, to pay restitution and to cooperate

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with the relevant government agencies (see section Vlll_ infra);

7. Collateral consequences including disproportionate harm to shareholders and
employees not proven personally culpable (see section lX, 1`11]’7`/0); and

8. The adequacy of non-criminal remedies such as civil or regulatory enforcement
actions (see section X, infra).

B. Comment: As with the factors relevant to charging natural persons the foregoing factors are

intended to provide guidance rather than to mandate a particular result. The factors listed in

this section are intended to be illustrative of those that should be considered and not a

complete or exhaustive list. Some or all ofthese factors may or may not apply to specific

cases and in some cases one factor may override all others Further, national law

enforcement policies in various enforcement areas may require that more or less weight be
given to certain of these factors than to others

in making a decision to charge a corporation, the prosecutor generally has Wide latitude in
determining When, whom, how, and even whether to prosecute for violations of Federal
criminal law. In exercising that discretion, prosecutors should consider the following general
statements of principles that summarize appropriate considerations to be weighed and
desirable practices to be followed in discharging their prosecutorial responsibilities In doing
so, prosecutors should ensure that the general purposes of the criminal law -- assurance of
warranted punishment, deterrence of further criminal conduct, protection of the public from
dangerous and fraudulent conduct, rehabilitation of offenders and restitution for victims and

affected communities -- are adequately met, taking into account the special nature of the
corporate "person."

III. Charging a Corporation: Special Policy Concerns

A. General Princl'ple: The nature and seriousness of the crime, including the risk ofharm to the
public from the criminal conduct, are obviously primary factors in determining whether to
charge a coiporation. ln addition, corporate conduct, particularly that of national and multi-
national corporations necessarily intersects with federal economic, taxation, and criminal
law enforcement policies In applying these principles prosecutors must consider the
practices and policies of the appropriate Division of the Department, and must comply with
those policies to the extent required.

B. Comment: In determining whether to charge a corporation, prosecutors should take into
account federal law enforcement priorities as discussed above. See § 9-27.230. In addition,
however, prosecutors must be aware of the specific policy goals and incentive programs
established by the respective Divisions and regulatory agencies Thus, whereas natural
persons may be given incremental degrees of credit (ranging from immunity to lesser
charges to sentencing considerations) for turning themselves in, making statements against
their penal interest, and cooperating in the government’s investigation of their own and
others' wrongdoing, the same approach may not be appropriate in all circumstances with
respect to corporations As an example, it is entirely proper in many investigations for a
prosecutor to consider the corporation's pre-indictment conduct, e.g., voluntary disclosure,
cooperation, remediation or restitution, in determining whether to seek an indictment.

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However, this would not necessarily be appropriate in an antitrust investigation, in which
antitrust violations by definition go to the heart ofthe corporation's business and for which
the Antitrust Division has therefore established a firm policy, understood in the business
community, that credit should not be given at the charging stage for a compliance program
and that amnesty is available only to the first corporation to make full disclosure to the
government As another example, the Tax Division has a strong preference for prosecuting
responsible individuals rather than entities for corporate tax offenses Thus in determining
whether or not to charge a corporation, prosecutors should consult with the Criminal,
Antitrust, Tax, and Environmental and Natural Resources Divisions if appropriate or
required.

IV. Charging a Corporation: Pervasiveness of Wrongdoing Within the Corporation

A. Gerzeral Prz`rzcz`ple: A corporation can only act through natural persons and it is therefore
held responsible for the acts of such persons fairly attributable to it. Charging a corporation
for even minor misconduct may be appropriate where the Wrongdoing was pervasive and
was undertaken by a large number of employees or by all the employees in a particular role
within the corporation, e_g., salesmen or procurement officers or was condoned by upper
management On the other hand, in certain limited circumstances it may not be appropriate
to impose liability upon a corporation, particularly one with a compliance program in place,
under a strict respondeat superior theory for the single isolated act of a rogue employee.
There is of course, a wide spectrum between these two extremes and a prosecutor should
exercise sound discretion in evaluating the pervasiveness ofwrongdoing within a
corporation

B. Commenz‘: Of these factors the most important is the role of management Although acts of
even low-level employees may result in criminal liability, a corporation is directed by its
management and management is responsible for a corporate culture in which criminal
conduct is either discouraged or tacitly encouraged. As stated in commentary to the
Sentencing Guidelines:

Pervasiveness [is] case specific and [will] depend on the number, and degree of
responsibility, of individuals [with] substantial authority . . . who participated in,
condoned, or were willfully ignorant of the offense Fewer individuals need to
be involved for a finding of pervasiveness ifthose individuals exercised a
relatively high degree of authority. Pervasiveness can occur either within an
organization as a whole or within a unit of an organization

U.S.S.G. § 8C2.5, comment (n. 4).

V. Charging the Corporation: The Corporation's Past History

A. Gerzeral Princz`ple: Prosecutors may consider a corporation's history of similar conduct,
including prior criminal, civil, and regulatory enforcement actions against it, in determining

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whether to bring criminal charges

B. Commem: A corporation, like a natural person, is expected to learn from its mistakes A
history of similar conduct may be probative ofa corporate culture that encouraged, or at
least condoned, such conduct, regardless of any compliance programs Criminal prosecution
ofa corporation may be particularly appropriate where the corporation previously had been
subject to non-criminal guidance, warnings or sanctions or previous criminal charges and
yet it either had not taken adequate action to prevent future unlawful conduct or had
continued to engage in the conduct in spite ofthe warnings or enforcement actions taken
against it. In making this determination, the corporate structure itself, e.g., subsidiaries or
operating divisions should be ignored, and enforcement actions taken against the
corporation or any of its divisions subsidiaries and affiliates should be considered See
U.S.S.G. § 8C2.5(c) & comment (n. 6).

VI. Charging the Corporation: Cooperation and Voluntary Disclosure

A. Gerieral Prz'nciple: In determining whether to charge a corporation, that corporation's timely
and voluntary disclosure ofwrongdoing and its willingness to cooperate with the
government’s investigation may be relevant factors ln gauging the extent of the
corporation's cooperation, the prosecutor may consider the corporation's willingness to
identify the culprits within the corporation, including senior executives to make witnesses
available, to disclose the complete results of its internal investigation and to waive the
attorney-client and work product privileges

B. Commerzt: In investigating wrongdoing by or within a corporation, a prosecutor is likely to
encounter several obstacles resulting from the nature of the corporation itself. It will often
be difficult to determine which individual took which action on behalf of the corporation
Lines of authority and responsibility may be shared among operating divisions or
departments and records and personnel may be spread throughout the United States or even
among several countries Where the criminal conduct continued over an extended period of
time, the culpable or knowledgeable personnel may have been promoted, transferred, or
fired, or they may have quit or retired. Accordingly, a corporation's cooperation may be
critical in identifying the culprits and locating relevant evidence.

ln some circumstances therefore, granting a corporation immunity or amnesty may be
considered in the course of the government’s investigation ln such circumstances
prosecutors should refer to the principles governing non-prosecution agreements generally.
See USAM § 9-27.600-650. Specifically, these principles permit a non-prosecution
agreement in exchange for cooperation when a corporation's "timely cooperation appears to
be necessary to the public interest and other means of obtaining the desired cooperation are
unavailable or would not be effective." Prosecutors should note that in the case of national

or multi-national corporations multi-district or global agreements may be necessary. See
USAl\/I § 9-27.641.

In addition, the Department, in conjunction with regulatory agencies and other executive
branch departments encourages corporations as part of their compliance programs to
conduct internal investigations and to disclose their findings to the appropriate authorities
Some agencies such as the SEC and the EPA, as well as the Department's Environmental

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and Natural Resources Division, have formal voluntary disclosure programs in which self-
repoiting, coupled with remediation and additional criteria, may qualify the corporation for

amnesty or reduced sanctions.-@Even in the absence of a formal program, prosecutors may
consider a corporation's timely and voluntary disclosure in evaluating the adequacy of the
corporation's compliance program and its management's commitment to the compliance
program. l-lowever, prosecution and economic policies specific to the industry or statute
may require prosecution notwithstanding a corporation's willingness to cooperate. For
example, the Antitrust Division offers amnesty only to the first corporation to agree to
cooperate. This creates a strong incentive for corporations participating in anti-competitive
conduct to be the first to cooperate. ln addition, amnesty, immunity, or reduced sanctions
may not be appropriate where the corporation's business is permeated with fraud or other
crimes

One factor the prosecutor may weigh in assessing the adequacy of a corporation's
cooperation is the completeness ofits disclosure including, if necessary, a waiver of the
attorney-client and work product protections both with respect to its internal investigation
and with respect to communications between specific officers directors and employees and
counsel. Such waivers permit the government to obtain statements of possible witnesses
subjects and targets without having to negotiate individual cooperation or immunity
agreements In addition, they are often critical in enabling the government to evaluate the
completeness of a corporation's voluntary disclosure and cooperation Prosecutors may,

therefore, request a waiver in appropriate circumstances.@”fhe Department does not,
however, consider waiver of a corporation's privileges an absolute requirement, and
prosecutors should consider the willingness of a corporation to waive the privileges when
necessary to provide timely and complete information as only one factor in evaluating the
corporation's cooperation

Another factor to be weighed by the prosecutor is whether the corporation appears to be
protecting its culpable employees and agents Thus while cases will differ depending on the
circumstances a corporation's promise of support to culpable employees and agents either

through the advancing of attorneys fees@through retaining the employees without sanction
for their misconduct, or through providing information to the employees about the
government’s investigation pursuant to ajoint defense agreement, may be considered by the
prosecutor in weighing the extent and value of a corporation's cooperation By the same
token, the prosecutor should be wary of attempts to shield corporate officers and employees
from liability by a willingness of the corporation to plead guilty.

Finally, a corporation's offer of cooperation does not automatically entitle it to immunity
from prosecution A corporation should not be able to escape liability merely by offering up
its directors officers employees or agents as in lieu of its own prosecution Thus a
corporation's willingness to cooperate is merely one relevant factor, one that needs to be
considered in conjunction with the other factors particularly those relating to the
corporation's past history and the role of management in the wrongdoing

VII. Charging a Corporation: Corporate Compliance Programs

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A. General Principle: Compliance programs are established by corporate management to
prevent and to detect misconduct and to ensure that corporate activities are conducted in
accordance with all applicable criminal and civil laws regulations and rules The
Department encourages such corporate self-policing, including voluntary disclosures to the
government of any problems that a corporation discovers on its own However, the existence
ofa compliance program is not sufficient, in and of itself, to justify not charging a
corporation for criminal conduct undertaken by its officers directors employees or agents
Indeed, the commission of such crimes in the face ofa compliance program may suggest
that the corporate management is not adequately enforcing its program. In addition the
nature of some crimes e.g., antitrust violations may be such that national law enforcement
policies mandate prosecutions of corporations notwithstanding the existence ofa compliance
program.

B. Comment. A corporate compliance program, even one specifically prohibiting the very
conduct in question does not absolve the corporation from criminal liability under the
doctrine of respondeat superior. See United States v. Basic Construction Co., 7ll F.2d 570

(4th Cir. 1983) ("a corporation may be held criminally responsible for antitrust violations
committed by its employees if they were acting within the scope of their authority, or
apparent authority, and for the benefit of the corporation even if . . . such acts Were against
corporate policy or express instructions."). Thus in United States v. Hilton Hotels Corp.,
467 F.2d 1000 (9th Cir. 1972), cert. denied, 409 U.S. 1125 (1973), the Ninth Circuit affirmed
antitrust liability based upon a purchasing agent for a single hotel threatening a single
supplier with a boycott unless it paid dues to a local marketing association even though the
agent's actions were contrary to corporate policy and directly against express instructions
from his superiors The court reasoned that Congress in enacting the Sherman Antitrust Act,
"intended to impose liability upon business entities for the acts of those to whom they
choose to delegate the conduct of their affairs thus stimulating a maximum effort by owners

and managers to assure adherence by such agents to the requirements of the Act."-(il lt
concluded that "general policy statements" and even direct instructions from the agent's
superiors were not sufficient; "Appellant could not gain exculpation by issuing general
instructions without undertaking to enforce those instructions by means commensurate with

the obvious risks." See also United States v. Beusch, 596 F.2d 871, 878 (9th Cir. 1979) ("[A]
corporation may be liable for the acts of its employees done contrary to express instructions
and policies but . . . the existence of such instructions and policies may be considered in
determining whether the employee in fact acted to benefit the corporation"); United States

v. American Radiator & Standard Sanitary Corp., 433 F.2d 174 (3"d Cir. 1970) (affirming
conviction of corporation based upon its officer's participation in price-fixing scheme,
despite corporation's defense that officer's conduct violated its "rigid anti-fraternization
policy" against any socialization (and exchange of price information) with its competitors
"When the act ofthe agent is within the scope of his employment or his apparent authority,
the corporation is held legally responsible for it, although what he did may be contrary to his
actual instructions and may be unlawful.").

While the Department recognizes that no compliance program can ever prevent all criminal
activity by a corporation's employees the critical factors in evaluating any program are
whether the program is adequately designed for maximum effectiveness in preventing and
detecting wrongdoing by employees and whether corporate management is enforcing the

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program or is tacitly encouraging or pressuring employees to engage in misconduct to
achieve business objectives The Depaitment has no formal guidelines for corporate
compliance programs The fundamental questions any prosecutor should ask are: "ls the
corporation's compliance program well designed?" and] "Does the corporation's compliance
program work?" In answering these questions the prosecutor should consider the
comprehensiveness ofthe compliance progi'am, the extent and pervasiveness of the criminal
conduct; the number and level of the corporate employees involved; the seriousness
duration and frequency of the misconduct, and any remedial actions taken by the
corporation including restitution disciplinary action and revisions to corporate compliance
programs.-@Prosecutors should also consider the promptness of any disclosure of
wrongdoing to the government and the corporation's cooperation in the government's
investigation

Prosecutors should therefore attempt to determine whether a corporation's compliance
program is merely a "paper program" or whether it was designed and implemented in an
effective manner. ln addition prosecutors should determine whether the corporation has
provided for a staff sufficient to audit, document, analyze, and utilize the results of the
corporation's compliance efforts In addition prosecutors should determine whether the
corporation's employees are adequately informed about the compliance program and are
convinced of the corporation's commitment to it. This will enable the prosecutor to make an
informed decision as to whether the corporation has adopted and implemented a truly
effective compliance program that, when consistent with other federal law enforcement
policies may result in a decision to charge only the corporation's employees and agents

Compliance programs should be designed to detect the particular types of misconduct most
likely to occur in a particular corporation's line of business l\/Iany corporations operate in
complex regulatory environments outside the normal experience of criminal prosecutors
Accordingly, prosecutors should consult with relevant federal and state agencies with the
expertise to evaluate the adequacy of a program's design and implementation For instance,
state and federal banking, insurance, and medical boards the Department of Defense, the
Department of Health and Human Seivices the Environmental Protection Agency, and the
Securities and Exchange Commission have considerable experience with compliance
programs and can be very helpful to a prosecutor in evaluating such programs In addition
the Fraud Section of the Criminal Division the Commercial Litigation Branch ofthe Civil
Division and the Environmental Crimes Section of the Environment and Natural Resources
Division can assist U.S. Attorneys' Offices in finding the appropriate agency office and in
providing copies of compliance programs that were developed in previous cases

VIII. Charging the Corporation: Restitution and Remediation

A. General Principle: Although neither a corporation nor an individual target may avoid
prosecution merely by paying a sum of money, a prosecutor may consider the corporation's
willingness to make restitution and steps already taken to do so, as well as other remedial
actions such as implementing an effective corporate compliance program, improving an
existing one, and disciplining wrongdoers in determining whether to charge the corporation

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B. Comment: ln determining Whether or not a corporation should be prosecuted, a prosecutor
may consider whether meaningful remedial measures have been taken including employee

discipline and full restitution.-@A corporation's response to misconduct says much about its
willingness to ensure that such misconduct does not recur. Thus corporations that fully
recognize the seriousness oftheir misconduct and accept responsibility for it should be seen
to be taking steps to implement the personnel, operational, and organizational changes
necessary to establish an awareness among employees that criminal conduct will not be
tolerated. Among the factors prosecutors should consider and weigh are whether the
corporation appropriately disciplined the wrongdoers and disclosed information concerning
their illegal conduct to the government

Employee discipline is a difficult task for many corporations because ofthe human element
involved and sometimes because of the seniority ofthe employees concerned. However,
while corporations need to be fair to their employees they must also be unequivocally
committed, at all levels ofthe corporation to the highest standards of legal and ethical
behavior. Effective internal discipline can be a powerful deterrent against improper behavior
by a corporation's employees In evaluating a corporation's response to wrongdoing,
prosecutors may evaluate the willingness ofthe corporation to discipline culpable
employees of all ranks and the adequacy of the discipline imposed. The prosecutor should
satisfy himself or herselfthat the corporation's focus is on the integrity and credibility of its
remedial and disciplinary measures rather than on the protection of the wrongdoers

ln addition to employee discipline, two other factors in evaluating a corporation's remedial
efforts are restitution and reform. As with natural persons the decision whether or not to
prosecute should not depend upon the target's ability to pay restitution A corporation's
efforts to pay restitution even in advance of any court order is however, evidence of its
"acceptance of responsibility" and, consistent with the practices and policies of the
appropriate Division of the Department entrusted with enforcing specific criminal laws may
be considered in determining whether to bring criminal charges Similarly, although the
inadequacy of a corporate compliance program is a factor to consider when deciding
whether to charge a corporation that corporation's quick recognition of the fiaws in the
program and its efforts to improve the program are also factors to consider.

IX. Charging the Corporation: Collateral consequences

A. General Principle: Prosecutors may consider the collateral consequences of a corporate
criminal conviction in determining whether to charge the corporation with a criminal
offense. `

B. Comment: One of the factors in determining whether to charge a natural person or a
corporation is Whether the likely punishment is appropriate given the nature and seriousness
of the crime. ln the corporate context, prosecutors may take into account the possibly
substantial consequences to a corporation's officers directors employees and shareholders
many of whom may, depending on the size and nature (e.g_, publicly vs. closely held) of the
corporation and their role in its operations have played no role in the criminal conduct, have
been completely unaware of it, or have been wholly unable to prevent it. Further,
prosecutors should also be aware of non-penal sanctions that may accompany a criminal

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charges such as potential suspension or debarment from eligibility for government contracts
or federal funded programs such as health care. Whether or not such non-penal sanctions are
appropriate or required in a particular case is the responsibility ofthe relevant agency, a
decision that will be made based on the applicable statutes regulations and policies

Virtually every conviction ofa corporation like virtually every conviction of an individual,
will have an impact on innocent third parties and the mere existence of such an effect is not
sufficient to preclude prosecution of the corporation Therefore, in evaluating the severity of
collateral consequences various factors already discussed, such as the pervasiveness of the
criminal conduct and the adequacy ofthe corporation's compliance programs should also be
considered in determining the weight to be given to this factor. For instance, the balance
may tip in favor of prosecuting corporations in situations where the scope of the misconduct
in a case is Widespread and sustained within a corporate division (or spread throughout
pockets ofthe corporate organization). ln such cases the possible unfairness ofvisiting
punishment for the corporation's crimes upon shareholders may be of much less concern
where those shareholders have substantially profited, even unknowingly, from widespread or
pervasive criminal activity. Similarly_ where the top layers of the corporation's management
or the shareholders ofa closely-held corporation were engaged in or aware ofthe
wrongdoing and the conduct at issue was accepted as a way of doing business for an
extended period, debarment may be deemed not collateral but a direct and entirely
appropriate consequence of the corporation's wrongdoing

The appropriateness of considering such collateral consequences and the weight to be given
them may depend on the special policy concerns discussed in section III,supra.

X. Charging a Corporation: Non-Criminal Alternatives

A. General Principle: Although non-criminal alternatives to prosecution often exist,
prosecutors may consider whether such sanctions would adequately deter, punish, and
rehabilitate a corporation that has engaged in wrongful conduct In evaluating the adequacy
of non-criminal alternatives to prosecution e.g., civil or regulatory enforcement actions the
prosecutor may consider all relevant factors including:

l. The sanctions available under the alternative means of disposition;
2. the likelihood that an effective sanction will be imposed; and
3. the effect of non-criminal disposition on Federal law enforcement interests

B. Comment. The primary goals of criminal law are deterrence, punishment, and rehabilitation
Non-criminal sanctions may not be an appropriate response to an egregious violation a
pattern of wrongdoing, or a history of non-criminal sanctions without proper remediation In
other cases however, these goals may be Satisfied without the necessity of instituting
criminal proceedings In determining whether federal criminal charges are appropriate, the
prosecutor should consider the same factors (modified appropriately for the regulatory
context) considered when determining Whether to leave prosecution of a natural person to
another jurisdiction or to seek non-criminal alternatives to prosecution i.e., the strength of
the regulatory authority's interest; the regulatory authority's ability and willingness to take

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effective enforcement action the probable sanction if the regulatory authority's enforcement
action is upheld, and the effect ofa non-criminal disposition on Federal law enforcement
interests See USAl\/l §§ 9-27.240, 9-27.250.

XI. Charging a Corporation: Selecting Charges

A. General Principle: Once a prosecutor has decided to charge a corporation the prosecutor
should charge7 or should recommend that the grand jury charge, the most serious offense
that is consistent with the nature ofthe defendant's conduct and that is likely to result in a
sustainable conviction

B. Coinrnent: Once the decision to charge is made, the same rules as govern charging natural
persons apply, 'l`hese rules require "a faithful and honest application of the Sentencing
Guidelines" and an "individualized assessment ofthe extent to which particular charges fit
the specific circumstances of the case, are consistent with the purposes of the Federal
criminal code, and maximize the impact of Federal resources on crime." See USAl\/I §
9-27.300. ln making this determination "it is appropriate that the attorney for the
government consider, inter alia, such factors as the sentencing guideline range yielded by
the charge, whether the penalty yielded by such sentencing range . . . is proportional to the
seriousness of the defendant's conduct, and whether the charge achieves such purposes of
the criminal law as punishment, protection of the public, specific and general deterrence,
and rehabilitation." See Attorney General's l\/Iemorandum, dated October 12, 1993.

XII. Plea Agreements With Corporations

A. General Principle: ln negotiating plea agreements with corporations prosecutors should
seek a plea to the most serious readily provable offense charged. ln addition the terms of
the plea agreement should contain appropriate provisions to ensure punishment, deterrence,
rehabilitation and compliance with the plea agreement in the corporate context Although
special circumstances may mandate a different conclusion prosecutors generally should not
agree to accept a corporate guilty plea in exchange for non-prosecution or dismissal of
charges against individual officers and employees

B. Comment: Prosecutors may enter into plea agreements With corporations for the same
reasons and under the same constraints as apply to plea agreements with natural persons
See USAl\/I §§ 9-27.400-500. This means inter alia, that the corporation should be required
to plead to the most serious readily provable offense charged. As is the case with
individuals the attorney making this determination should do so "on the basis of an
individualized assessment ofthe extent to which particular charges fit the specific
circumstances of the case, are consistent with the purposes of the federal criminal code, and
maximize the impact of federal resources on crime. In making this deter,mination the
attorney for the government consider, inter alia, such factors as the sentencing guideline
range yielded by the charge, Whether the penalty yielded by such sentencing range.
proportional to the seriousness of the defendant' s conduct, and whethei the chai ge achieves
such purposes of the criminal law as punishment, protection of the public, specific and

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general deterrence and rehabilitation." See Attorney General's l\/lemoranduin dated October
l2, 1993. ln addition any negotiated depaitures from the Sentencing Guidelines must be
justifiable under the Guidelines and must be disclosed to the sentencing court. ln addition
corporations should be made to realize that pleading guilty to criminal charges constitutes an
admission ofguilt and not merely a resolution of an inconvenient distraction from its
business Thus as with natural persons pleas should be structured so that the corporation
may not later "proc|aiin lack of culpability or even complete innocence." See USAl\/l §§
9-27.420(b)(4), 9-27.440, 9-27.500. Thus for instance, there should be placed upon the
record a sufficient factual basis for the plea to prevent later corporate assertions of
innocence.

A corporate plea agreement should also contain certain provisions that recognize the nature
of the corporate "person" and ensure that the principles of punishment, deterrence, and
rehabilitation are met ln the corporate context, punishment and deterrence are generally
accomplished by substantial fines mandatory restitution and institution of appropriate
compliance measures including, ifnecessary, continued judicial oversight or the use of
special masters See U.S.S.G. §§ SBl.l, 8C2.l, et seq. ln addition where the corporation is a
government contractor, permanent or temporary debarment may be appropriate. Where the
corporation was engaged in government contracting fraud, a prosecutor may not negotiate
away an agency's right to debar or to list the corporate defendant

In negotiating a plea agreement, prosecutors should also consider the deterrent value of
prosecutions of individuals within the corporation Therefore, one factor that a prosecutor
may consider in determining whether to enter into a plea agreement is whether the
corporation is seeking immunity for its employees and officers or whether the corporation is
willing to cooperate in the investigation of culpable individuals Generally, prosecutors
should rarely negotiate away individual criminal liability in a corporate plea.

Rehabilitation, of course, requires that the corporation undertake to be law-abiding in the
future lt is therefore, appropriate to require the corporation as a condition of probation to
implement a compliance program or to reform an existing one. As discussed above,
prosecutors may consult with the appropriate state and federal agencies and components of
the Justice Department to ensure that a proposed compliance program is adequate and meets
industry standards and best practices See section VII, supra.

In plea agreements in which the corporation agrees to cooperate, the prosecutor should
ensure that the cooperation is complete and truthful. To do so, the prosecutor may request
that the corporation waive the attorney-client and work product privileges make employees
and agents available for debriefing, disclose the results of its internal investigation file
appropriate certified financial statements agree to governmental or third-party audits and
take whatever other steps are necessary to ensure that the full scope of the corporate
wrongdoing is disclosed and that the responsible culprits are identified and, if appropriate,
prosecuted. See generally section VIII, supra.

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Footnotes

l. ln addition the Sentencing Guidelines reward voluntary disclosure and cooperation with a reduction
in the corporation's offense level. See U.S.S.G. § 8C2.5(g).

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2. This waiver should ordinarily be limited to the factual internal investigation and any
contemporaneous advice given to the corporation concerning the conduct at issue Except in unusual
circumstances prosecutors should not seek a waiver with respect to communications and work product
related to advice concerning the government’s criminal investigation

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3. Some states require corporations to pay the legal fees of officers under investigation prior to a formal
determination oftheir guilt Obviously, a corporation's compliance with governing law should not be
considered a failure to cooperate

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4. Although this case and Basic Construction are both antitrust cases their reasoning applies to other
criminal violations In the Hilton case, for instance, the Ninth Circuit noted that Sherman Act violations
are commercial offenses "usually motivated by a desire to enhance profits" thus bringing the case
within the normal rule that a "purpose to benefit the corporation is necessary to bring the agent's acts
within the scope of his employment." 467 F.2d at l006 & n.4. In addition in United States v.

Automated Medical Laboratories, 770 F.2d 399, 406 n.5 (4th Cir. 1985), the Foui'th Circuit stated that

Basic Construction states a generally applicable rule on corporate criminal liability despite the fact that
it addresses violations of the antitrust rules"

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5. For a detailed review of these and other factors concerning corporate compliance programssee
United States Sentencing Commission, Guidelines Manual, § 8Al .2, comment (n. 3(k)) (Nov. 1997).
See also U.S.S.G. § 8C2.5(f).

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6. For example, the Antitrust Division's amnesty policy specifically requires that "[w]here possible, the
corporation [make] restitution to injured parties . . . ."

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Exhibit ()

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U.S. Department of Justice

Oftice of the Deputy Attorney General

 

 

The Deputy Attorney General Washington, D.C. -20530

January 20, 2003
MEMORANDUM

' TO: Heads of DepartmentComponents
United States Attorneys

FROM: Larry D. Thompson
Deputy Attorney General

SUBJECT: Principles of Federa| Prosecution of Business Organizations

As the Corporate Fraud Task Force has advanced in its mission we have confronted certain issues in the
_ principles for the federal prosecution of business organizations that require revision in order to enhance our
efforts against corporate fraud. While it will be a minority of cases in which a corporation or partnership is itself
subjected to criminal charges prosecutors and investigators in every matter involving business crimes must
assess the merits of seeking the conviction of the business entity itself.

Attached to this memorandum are a revised set of principles to guide Department prosecutors as they make
the decision whether to seek charges against a business organization These revisions draw heavily on the
combined efforts of the Corporate Fraud Task Force and the Attorney General's Advisory Committee to put the
results of more than three years of experience with the principles into practice.

The main focus of the revisions is increased emphasis on and scrutiny of the authenticity of a corporation's
cooperation Too often business organizations whi|e‘purporting to cooperate with a Department investigation in
fact take steps to impede the quick and effective exposure of the complete scope of wrongdoing under
investigation The revisions make clear that such conduct should weigh in favor of a corporate prosecution The
revisions also address the efficacy of the corporate governance mechanisms in place within a corporation, to
ensure that these measures are truly effective rather than mere paper programs

Further experience with these principles may lead to additional adjustments l look fonivard to hearing
comments about their operation in practice Please forward any comments to Christopher Wray, the Principal
» Associate Deputy Attorney General, or to Andrew Hniska, my Senior Counsel.

 

Federal Prosecution of Business Organizations1

l. Charging a Corporation: General

A. General Principle: Corporations should not be treated lenient|y because of their artincia| nature nor should
` they be subject to harsher treatment Vigorous enforcement of the criminal laws against corporate wrongdoers
where appropriate results in great benefits for law enforcement and the public, particularly in the area of white
collar crime. indicting corporations for wrongdoing enables the government to address and be a force for positive
change of corporate culture, alter corporate behavior, and prevent, discover, and punish white collar crime.

B. Comment: in all cases involving corporate wrongdoing, prosecutors should consider the factors discussed

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herein First and foremost, prosecutors should be aware of the important public benefits that may flow from
indicting a corporation in appropriate cases For instance, corporations are likely to take immediate remedial steps
when one is indicted for criminal conduct that is pervasive throughout a particular industry, and thus an indictment
often provides a unique opportunity for deterrence on a massive scale. in addition a corporate indictment may
result in specific deterrence by changing the culture of the indicted corporation and the behavior of its employees
Finaily, certain crimes that carry with them a substantial risk of great public harm, e.g., environmental crimes or
_ financial frauds are by their nature most likely to be committed by businesses and there may, tfierefore, be a
substantial federal interest in indicting the corporation

Charging a corporation, however, does not mean that individual directors officers employees or
shareholders should not also be charged. Prosecution of a corporation is not a substitute for the prosecution of
criminally culpable individuals within or without the corporation Because a corporation can act only through
individuals imposition of individual criminal liability may provide the strongest deterrent against future corporate

wrongdoing. Only rarely should provable individual culpability not be pursued, even in the face of offers of
corporate guilty pleas

Corporations are "Iegal persons," capable of suing and being sued, and capable of committing crimes Under
the doctrine of respondeat supen'or, a corporation may be held criminally liable for the illegal acts of its directors
officers employees and agents To hold a corporation liable for these actions the government must establish
that the corporate agent's actions (i) were within the scope of his duties and (ii) were intended, at least in part, to
benefit the corporation in ali cases involving wrongdoing by corporate agents prosecutors should consider the
corporation, as well as the responsible individuals as potential criminal targets

Agents, however. may act for mixed reasons --. both for self~aggrandizement (both direct and indirect) and for

the benefit of the corporation and a corporation may be held liable as long as one motivation of its agent is to
- benefit the corporation in United States v. Automated Medical Laboratories, 770 F.2d 399 (4th Cir. 1985), the

court affirmed the corporation's conviction for the actions of a subsidiary's employee despite its claim that the
employee was acting for his own benefit, namely his "ambitious nature and his desire to ascend the corporate
ladder." The court stated, "Partucci was clearly-acting in pari to benefit AML since his advancement within the
corporation depended on AML's weil-being and its lack of difficulties with the FDA." Simi|arly, in United States v.
Cincotta, 689 F.2d 238, 241 -42 (1$‘ Cir. 1982), the court heid, "criminai liability may be imposed on the
corporation only where the agent is acting within the scope of his employment That, in turn requires that the
agent be performing acts of the kind which he is authorized to perform, and those acts must be motivated - at
least in part -- by an intent to benefit the corporation." Applying this test, the court upheld the`corporation's
conviction notwithstanding the substantial personal benefit reaped by its miscreant agents because the
fraudulent scheme required money to pass through the corporation's treasury and the fraudulently obtained goods
were resold to the corporation's customers in the corporation's name. As the court concluded, "Mystic-not the
individual defendants-was making money by selling oil that it had not paid for."

Moreover, the corporation need not even necessarily profit from its agent's actions for it to be held liab|e. in
Automated Medical Laborafories, the Fourth Circuit stated: _

[B]enefit is not a "touchstone of criminal corporate liability; benth at best is an evidential, not an
operative, fact." Thus whether the agent's actions ultimately redounded to the benefit of the corporation
is less significant than whether the agent acted with the intent to benefit the corporation The basic
purpose of requiring that an agent have acted with the intent to benefit the corporation, however, is to
insulate the corporation from criminal liability for actions of its agents which be inimical to the interests of
the corporation or which may have been undertaken solely to advance the interests of that agent or of a
party other than the corporation

770 F.2d at 407 (emphasis added; quoting OId Monastery Co. v. United States 147 F.2d 905, 908 (4"‘ Cir.), cert
denied, 326 u.s. 734 (1945)).

- l|. Charging a Corporation: Factors to Be Considered

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A. General Principle: Generally, prosecutors should apply the same factors in determining whether to charge

a corporation as they do with respect to individuals See USAM § 9-27.220, et seq. Thus, the prosecutor should
weigh all of the factors normally considered in the sound exercise of prosecutorial judgment the sufficiency of the
evidence; the likelihood of success at tria|,; the probable deterrent, rehabilitative, and other consequences of
conviction and the adequacy of noncriminal approaches See id. However, due to the nature of the corporate

` "person" some additional factors are present. in conducting an investigation determining whether to bring

' charges and negotiating plea agreements prosecutors should consider the following factors in reaching a
decision as to the proper treatment of a corporate target:

1. the nature and seriousness of the offense, including the risk of harm to the public. and applicable

policies and priorities if any, governing the'prosecution of corporations for particular categories of crime (see
section lli, infra);

2. the pervasiveness of wrongdoing within the corporation including the complicity in or condonation of,
the wrongdoing by corporate management (see section lV, infra);

3. the corporation's history of similar conduct, including prior criminal, civii, and regulatory enforcement
actions against it (see section V, infra);

4. the corporation's timely and voluntary disclosure of wrongdoing and its willingness to cooperate in the

investigation of its agents including, if necessary. the waiver of corporate attorney-client and work product
protection (see section Vl, infra);

5. the existence and adequacy of the corporation's compliance program (see section V||, infra);

6. the corporation's remedial actions including any efforts to implement an effective corporate
compliance program or to improve an existing one, to replace responsible management to discipline or

terminate wrongdoers to pay restitution and to cooperate with the relevant government agencies (see
section Vill, infra); `

7. collateral consequences including disproportionate harm to shareholders pension holders and

employees not proven personally culpable and impact on the public arising from the prosecution (see section
iX, infra); and

8. the adequacy of the prosecution of individuals responsible for the corporation's malfeasance;
9. the adequacy of remedies such as civil or regulatory enforcement actions (see section X, infra).

B. Comment: As with the factors relevant to charging natural persons the foregoing factors are intended to
provide guidance rather than to mandate a particular result The factors listed in this section are intended to be
illustrative of those that should be considered and not a complete or exhaustive list Some or ali of these factors
may or may not apply to specific cases and in some cases one factor may override all others The nature and
_ seriousness of the offense may be such as to warrant prosecution regardless of the other factors Further,

national law enforcement policies in various enforcement areas may require that more or less weight be given to
certain of these factors than to others

in making a decision to charge a corporation, the prosecutor generally has wide latitude in determining when
whom, how, and even whether to prosecute for violations of Federal criminal law. in exercising that discretion
prosecutors should consider the following general statements of principles that summarize appropriate
considerations to be weighed and desirable practices to be followed in discharging their prosecutorial
responsibilities in doing so, prosecutors should ensure that the general purposes of the criminal law - assurance
of warranted punishment deterrence of further criminal conduct, protection of the public from dangerous and
' fraudulent conduct. rehabilitation of offenders and restitution for victims and affected communities -- are
adequately met, taking into account the special nature of the corporate "person"

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||l. Charging a Corporation: Specia| Policy Concerns

A. General Principle: The nature and seriousness of the crime, including the risk of harm to the public from
the criminal conduct, are obviously primary factors in determining whether to charge a corporation, ln addition
corporate conduct, particularly that of national and multi-nationa| corporations necessarily intersects with federal
economic, taxation and criminal law enforcement policies |n applying these principles prosecutors must

consider the practices and policies of the appropriate Division of the Department, and must comply with those
policies to the extent required.

B. Comment: in determining whether to charge a corporation, prosecutors should take into account federal
» law enforcement priorities as discussed above. See USAM § 9-27-230. ln addition however, prosecutors must be
aware of the specific policy goals and incentive programs established by the respective Divisions and regulatory
agencies Thus whereas natural persons may be given incremental degrees of credit (ranging from immunity to
lesser charges to sentencing considerations) for turning themselves in making statements against their penal
interest, and cooperating in the government’s investigation of their own and others' wrongdoing, the same
approach may not be appropriate in all circumstances with respect to corporations As an example, it is entirely
proper in many investigations for a prosecutor to consider the corporation's pre-indictment conduct, e.g.,voluntary
disclosure, cooperation remediation or restitution in determining whether to seek an indictment However, this
would not necessarily be appropriate in an antitrust investigation in which antitrust violations by definition go to
the heart of the corporation's business and for which the Antitrust Division has therefore established a firm policy,
' understood in the business community, that credit should not be given at the charging stage for a compliance
program and that amnesty is available only to the first corporation to make full disclosure to the government. As
another example, the Tax Division has a strong preference for prosecuting responsible individuals rather than
entities for corporate tax offenses Thusl in determining whether or not to charge a corporation, prosecutors
should consult with the Criminal, Antitrust, Taxl and Environmental and Natural Resources Divisions if
appropriate or required.

|V. Charging a Corporation: Pervasiveness of Wrongdoing Within the Corporation

A. General Principle: A corporation can only act through natural persons and it is therefore held responsible
for the acts of such persons fairly attributable to it. Charging a corporation for even minor misconduct may be
appropriate where the wrongdoing was pervasive and was undertaken by a large number of employees or by all
the employees in alparticular role within the corporation e.g., salesmen or procurement officers or was condoned
by upper management On the other hand, in certain limited circumstances it may not be appropriate to impose
liability upon a corporation particularly one with a compliance program in place, under a strict respondeat
superior theory for the single isolated act of a rogue employee. There is of course, a wide spectrum between

these two extremes and a prosecutor should exercise sound discretion in evaluating the pervasiveness of
wrongdoing within a corporation,

B. Comment: Of these factors the most important is the role of management Although acts of even low-level
employees may result in criminal liability, a corporation is directed by its management and management is

responsible for a corporate culture in which criminal conduct is either discouraged or tacitly encouraged As stated
in commentary to the Sentencing Guidelines: »

Pervasiveness [is] case specific and [wi|l] depend on the number, and degree of responsibility, of
individuals [with] substantial authority who participated in condoned, or were willfully ignorant of the
offense. Fewer individuals need to be involved for a finding of pervasiveness if those individuals

exercised a relatively high degree of authority. Pervasiveness can occur either within an organization as
a whole or within a unit of an organization

USSG §802.5, comment. (n. 4).
V. Charging a Corporation: The Corporation's Past History

A. General Principle: Prosecutors may consider a corporation's history of similar conduct, including prior

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criminal, civil, and regulatory enforcement actions against it, in determining whether to bring criminal charges

B. Comment: A corporation like a natural person is expected to learn from its mistakes A history of similar
conduct may be probative of a corporate culture that encouraged, or at least condoned, such conduct, regardless
of any compliance programs Criminal prosecution of a corporation may be particularly appropriate where the
corporation previously had been subject to non-criminal guidance, wamings or sanctions or previous criminal
charges and yet it either had not taken adequate action to prevent future unlawful conduct or had continued to
engage in the conduct in spite of the warnings or enforcement actions taken against it. ln making this
determination the corporate structure itself, e.g., subsidiaries or operating divisions should be ignored, and
enforcement actions taken against the corporation or any of its divisions subsidiaries and affiliates should be
considered. See USSG § 802.5(0) & comment. (n. 6).

VI. Charging a Corporation: Cooperation and Voluntary Disclosure

A General Principle: ln determining whether to charge a corporation, that corporation's timely and voluntary
disclosure of wrongdoing and its willingness to cooperate with the government‘s investigation may be relevant
factors ln gauging the extent of the corporation's cooperation the prosecutor may consider the corporation's
willingness to identify the culprits within the corporation, including senior executives to make witnesses availab|e;

to disclose the complete results of its internal investigation and to waive attorney-client and work product
protection.

B. Comment: |n investigating wrongdoing by or within a corporation, a prosecutor is likely to encounter
several obstacles resulting from the nature of the corporation itself. lt will often be difficult to determine which
individual took which action on behalf of the corporation Lines of authority and responsibility may be shared
among operating divisions or departments and records and personnel may be spread throughout the United
States or even among several countries Where the criminal conduct continued over an extended period of time,
the culpable or knowledgeable personnel may have been promoted, transferred, or tired, or they may have quit or

retired. Accordingly, a corporation's cooperation may be critical in identifying the culprits and locating relevant
_ evidence.

ln some circumstances therefore, granting a corporation immunity or amnesty or pretrial diversion may be
considered in the course of the government’s investigation ln such circumstances prosecutors should refer to the
principles governing non-prosecution agreements generally. See USAM § 9-27.600-650. These principles permit
a non prosecution agreement in exchange for cooperation when a corporation's "time|y cooperation appears to be
necessary to the public interest and other means of obtaining the desired cooperation are unavailable or would
not be effective." Prosecutors should note that in the case of national or multi-national corporations multi-district
or global agreements may be necessary. Such agreements may only be entered into with the approval of each
affected district or the appropriate Department official. See USAM §9-27.641.

fn addition the Department, in conjunction with regulatory agencies and other executive branch departments

encourages corporations as part of their compliance programs to conduct internal investigations and to disclose
their findings to the appropriate authorities Some agencies such as the SEC and the EPA, as well as the
Department's Environmental and Natural Resources Division. have formal voluntary disclosure programs in which
self-reporting, coupled with remediation and additional criteria, may qualify the corporation for amnesty or reduced
sanctions.2 Even in the absence of a formal program, prosecutors may consider a corporation's timely and
voluntary disclosure in evaluating the adequacy of the corporation's compliance program and its management's
commitment to the compliance program. However, prosecution and economic policies specific to the industry or
. statute may require prosecution notwithstanding a corporation's willingness to cooperate. For example, the

Antitrust Division offers amnesty only to the first corporation to agree to cooperate. This creates a strong incentive
for corporations participating in anti-competitive conduct to be the first to cooperate. ln addition amnesty,

immunity, or reduced sanctions may not be appropriate where the corporation's business is permeated with fraud
or other crimes

One factor the prosecutor may weigh in assessing the adequacy of a corporation's cooperation is the
completeness of its disclosure including, if necessary, a,waiver of the attorney-client and work product

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protections both with respect to its internal investigation and with respect to communications between
specific officers directors and employees and counsel. Such waivers permit the government to obtain statements
of possible witnesses subjects and targets without having to negotiate individual cooperation or immunity
agreements |n addition they are often critical in enabling the government to evaluate the completeness of a
corporation's voluntary disclosure and cooperation Prosecutors may, therefore, request a waiver in appropriate
circumstances3 The Department does not, howeverl consider waiver of a corporation's attorney-client and work
product protection an absolute requirementl and prosecutors should consider the willingness of a corporation to

waive such protection when necessary to provide timely and complete information as one factor in evaluating the
corporation's cooperation.

Another factor to be weighed by the prosecutor is whether the corporation appears to be protecting its
culpable employees and agents Thus while cases will differ depending on the circumstances a corporation's
promise of support to culpable employees and agents either through the advancing of attorneys fees"' through
retaining the employees without sanction for their misconduct, or through providing information to the employees
about the government’s investigation pursuant to a joint defense agreement, may be considered by the
prosecutor in weighing the extent and value of a corporation's cooperation By the same token the prosecutor

should be wary of attempts to shield corporate officers and employees from liability by a willingness of the
corporation to plead guilty.

Another factor to be weighed by the prosecutor is whether the corporation, while purporting to cooperate, has
engaged in conduct that impedes the investigation (whether or not rising to the level of criminal obstruction).
Examples of such conduct include: overly broad assertions of corporate representation of employees or former
employees inappropriate directions to employees or their counsel. such as directions not to cooperate openly and
fully with the investigation including, for example, the direction to decline to be interviewed; making presentations
or submissions that contain misleading assertions or omissions incomplete or delayed production of records; and
failure to promptly disclose illegal conduct known to the corporation

Final|yl a corporation's offer of cooperation does not automatically entitle it to immunity from prosecution A
corporation should not be able to escape liability merely by offering up its directors ochers employees or agents
as in lieu of its own prosecution Thus, a corporation's willingness to cooperate is merely one relevant factor. that
needs to be considered in conjunction with the other factors particularly those relating to the corporation's past
' history and the role of management in the wrongdoing

V|l. Charging a Corporation: Corporate Compliance Programs

A. General'Principle: Compliance programs are established by corporate management to prevent and to ‘
detect misconduct and to ensure that corporate activities are conducted in accordance with all applicable criminal
and civil laws regulations and rules. The Department encourages such corporate self-policing, including
voluntary disclosures to the government of any problems that a corporation discovers on its own However, the
existence of a compliance program is not sufficient, in and of itself, to justify not charging a corporation for
criminal conduct undertaken by its officers directors employees or agents lndeed, the commission of such
crimes in the face of a compliance program may suggest that the corporate management is not adequately
enforcing its program, ln addition the nature of some crimes e.g., antitrust violations may be such that national

law enforcement policies mandate prosecutions of corporations notwithstanding the existence of a compliance
program.

B. Comment: A corporate compliance program, even one specifically prohibiting the very conduct in question
does not absolve the corporation from criminal liability under the doctrine of respondeat supen'or, See United
States v. Basic Constmction Co.. 711 F.2d 570 (4‘h Cir. 1983) ("a corporation may be held criminally responsible
for antitrust violations committed by its employees if they were acting within the scope of their authority. or
apparent authority, and for the benefit of the corporation, even if... such acts were against corporate policy or
express instructions."). ln United States v. Hilton Hote/s Corp., 467 F.2d 1000 (9'h Cir. 1972), cert. denied, 409
U.S. 1125 (1973), the Ninth Circuit affirmed antitrust liability based upon a purchasing agent for a single hotel
threatening a single supplier with a boycott unless it paid dues to a local marketing association even though me
agent's actions were contrary to corporate policy and directly against express instructions from his superiors The

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court reasoned that Congress in enacting the Sherman Antitrust Ac_t, "intended to impose liability upon
business entities for the acts of those to whom they choose to delegate the conduct of their affairs thus
stimulating a maximum effort by owners and managers to assure adherence by such agents to the requirements
of the Act."5 lt concluded that "general policy statements" and even direct instructions from the agent's superiors
were not sufficient; "Appellant could not gain exculpation by issuing general instructions without undertaking to
7 enforce those instructions by means commensurate with the obvious risks." See also United States v. Beusch,
596 F.2d 871 , 878 (9‘h Cir. 1979) ("[A] corporation may be liable for the acts of its employees done contrary to
express instructions and policies but the existence of such instructions and policies may be considered in
determining whether the employee in fact acted to benefit the corporation."); United States v. Amen'can Radiator
& Standard Sanitary Corp., 433 F.2d 174 (3rd Cir. 1970) (aftirming conviction of corporation based upon its
officer's participation in price-fixing scheme. despite corporation's defense that ofhcer's conduct violated its "rigid
anti-fraternization policy" against any socialization (and exchange of price information) with its competitors "When
the act of the agent is within the scope of his employment or his apparent authority, the corporation is held legally
responsible for it, although what he did may be contrary to his actual instructions and may be unlawful.").

While the Department recognizes that no compliance program can ever prevent all criminal activity by a
corporation's employees the critical factors in evaluating any program are whether the program is adequately
designed for maximum effectiveness in preventing and detecting wrongdoing by employees and whether
corporate management is enforcing the program or is tacitly encouraging or pressuring employees to engage in
misconduct to achieve business objectives The Department has no formal guidelines for corporate compliance
programs The fundamental questions any prosecutor should ask are: "ls the corporation's compliance program
well designed?" and "Does the corporation's compliance program work?" ln answering these questions the
prosecutor should consider the comprehensiveness of the compliance program; the extent and pervasiveness of
the criminal conduct; the number and level of the corporate employees involved; the seriousness duration and
frequency of the misconduct; and any remedial actions taken by the corporation, including restitution disciplinary
action and revisions to corporate compliance programs6 Prosecutors should also consider the promptness of
any disclosure of wrongdoing to the government and the corporation's cooperation in the government’s
investigation ln evaluating compliance programs prosecutors may consider whether the_corporation has
established corporate governance mechanisms that can effectively detect and prevent misconduct For example,
do the corporation's directors exercise independent review over proposed corporate actions rather than
unquestioningly ratifying officers' recommendations are the directors provided with information sufficient to
enable the exercise of independent judgment, are intemal audit functions conducted at a level sufficient to ensure
their independence and accuracy and have the directors established an information and reporting system in the
organization reasonable designed to provide management and the board of directors with timely and accurate

. information sufficient to allow them to reach an informed decision regarding the organization's compliance with the
law. In re: Caremark, 698 A.2d 959 (Del. Ct. Chan. 1996).

Prosecutors should therefore attempt to determine whether a corporation' s compliance program is merely a
"paper program" or whether it was designed and implemented in an effective manner. ln addition prosecutors
should determine whether the corporation has provided for a staff sufficient to audit document, analyze, and
utilize the results of the corporation's compliance efforts ln addition prosecutors should determine whether the
corporation's employees are adequately informed about the compliance program and are convinced of the
corporation's commitment to it. This will enable the prosecutor to make an informed decision as to whether the
corporation has adopted and implemented a truly effective compliance program that, when consistent with other
' federal law enforcement policies may result in a decision to charge only the corporation's employees and agents

Compliance programs should be designed to detect the particular types of misconduct most likely to occur in
a particular corporation' s line of business Many corporations operate' in complex regulatory environments outside
the normal experience of criminal prosecutors Accordinglyl prosecutors should consult with relevant federal and
state agencies with the expertise to evaluate the adequacy of a program' s design and implementation For
instance, state and federal banking, insurance, and medical boards the Department of Defense, the Department
of Health and Human Services the Environmental Protection Agency, and the Securities and Exchange
Commission have considerable experience with compliance programs and can be very helpful to a prosecutor in
. evaluating such programs |n addition the Fraud Section of the Criminal Division the Commercial Litigation

Branch of the Civil Division and the Environmental Crimes Section of the Environment and Natural Resources

Division can assist U. S. Attomeys' Off ces in finding the appropriate agency office and` in providing copies of

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compliance programs that were developed in previous cases
Vl|l. Charging a Corporation: Restitution and Remediation

A. General Principle: Although neither a corporation nor an individual target may avoid prosecution merely by
paying a sum of money, a prosecutor may consider the corporation's willingness to make restitution and steps
already taken to do so. A prosecutor may also consider other remedial actions such as implementing an effective
corporate compliance program, improving an existing compliance program, and disciplining wrongdoers in
determining whether to charge the corporation

B. Comment: ln determining whether or not a corporation should be prosecuted, a prosecutor may consider
whether meaningful remedial measures have been taken including employee discipline and full restitution7 A
corporation's response to misconduct says much about its willingness to ensure that such misconduct does not
recur. Thus corporations that fully recognize the seriousness of their misconduct and accept responsibility for it
should be taking steps to implement the personnel, operational, and organizational changes necessary to
. establish an awareness among employees that criminal conduct will not be tolerated. Among the factors

prosecutors should consider and weigh are whether the corporation appropriately disciplined the wrongdoers and
disclosed information concerning their illegal conduct to the govemment.

Employee discipline is a difficult task for many corporations because of the human element involved and
sometimes because of the seniority of the employees concemed. While corporations need to be fair to their
employees they must also be unequivocally committed, at all levels of the corporation, to the highest standards of
legal and ethical behavior. Effective internal discipline can be a powerful deterrent against improper behavior by a
corporation's employees ln evaluating a corporation's response to wrongdoing, prosecutors may evaluate the
willingness of the corporation to discipline culpable employees of all ranks and the adequacy of the discipline
` imposed. The prosecutor should be satisfied that the corporation's focus is on the integrity and credibility of its
remedial and disciplinary measures rather than on the protection of the wrongdoers

ln addition to employee discipline, two other factors used in evaluating a corporation's remedial efforts are

restitution and reform. As with natural persons the decision whether or not to prosecute should not depend upon
the target's ability to pay restitution A corporation's efforts to pay restitution even in advance of any court order is
however, evidence of its "acceptance of responsibility" and, consistent with the practices and policies of the
appropriate Division of the Department entrusted with enforcing speciHc criminal laws may be considered in
determining whether to bring criminal charges Simi|arly, although the inadequacy of a corporate compliance
. program is a factor to consider when deciding whether to charge a corporation, that corporation's quick

recognition of the fiaws in the program and its efforts to improve the program are also factors to consider.

IX. Charging a Corporation: Collatera| Consequences

A. General Principle: Prosecutors may consider the collateral consequences'of a corporate criminal
conviction in determining whether to charge the corporation with a criminal offense.

B. Comment: One of the factors in determining whether to charge a natural person or a corporation is
. whether the likely punishment is appropriate given the nature and seriousness of the crime. ln the corporate
context, prosecutors may take into account the possibly substantial consequences to a corporation's officers
directors employees and shareholders many of whom may, depending on the size and nature (e.g., publicly vs
closely held) of the corporation and their role in its operations have played no role in the criminal conduct, have
been completely unaware of it, or have been wholly unable to prevent it. Prosecutors should also be aware of
non-penal sanctions that may accompany a criminal charge, such as potential suspension or debarment from
eligibility for government contracts or federal funded programs such as health care. Whether or not such non-
pena| sanctions are appropriate or required in a particular case is the responsibility of the relevant agency, a
decision that will be made based on the applicable statutes regulations and policies

Virtually every conviction of a corporation, like virtually every conviction of an individual, will have an impact
on innocent third parties and the mere existence of such an effect is not sufficient to preclude prosecution of the

http://www.usdoj.gov/dag/cftf/corporate_guidelines.htm 4/2/2008

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corporation Therefore, in evaluating the severity of collateral consequences various factors already
discussed, such as the pervasiveness of the criminal conduct and the adequacy of the corporation's compliance
programs should be considered in determining the weight to be given to this factor. For instance, the balance
may tip in favor of prosecuting corporations in situations where the scope of the misconduct in a case is
widespread and sustained within a corporate division (or spread throughout pockets of the corporate
organization). ln such cases the possible unfairness of visiting punishment for the corporation's crimes upon
shareholders may be of much less concern where those shareholders have substantially profited, even
unknowingly, from widespread or pervasive criminal activity. Simi|arly, where the top layers of the corporation's
management or the shareholders of a closely-held corporation were engaged in or aware of the wrongdoing and
the conduct at issue was accepted as a way of doing business for an extended period, debarment may be
deemed not collateral, but a direct and entirely appropriate consequence of the corporation's wrongdoing.

The appropriateness of considering such collateral consequences and the weight to be given them may
depend on the special policy concerns discussed in section l|l, supra.

X. Charging a Corporation: Non-Criminal Alternatives

A. General Principle: Although non-criminal alternatives to prosecution often exist, prosecutors may consider
whether such sanctions would adequately deter, punish, and rehabilitate a corporation that has engaged in
wrongful conduct. ln evaluating the adequacy of non-criminal alternatives to prosecution e.g., civil or regulatory
enforcement actions the prosecutor may consider all relevant factors including:

1. the sanctions available under the alternative means of disposition
2. the likemiood that an effective sanction will be imposed; and
3. the effect of non-criminal disposition on Federal law enforcement interests

B. Comment: The primary goals of criminal law are deterrence, punishment, and rehabilitation Non-crimina|
sanctions may not be an appropriate response to an egregious violation a pattern of wrongdoing, or a history of
non-criminal sanctions without proper remediation |n other cases however, these goals may be satisfied without
the necessity of instituting criminal proceedings ln determining whether federal criminal charges are appropriate,
the prosecutor should consider the same factors (modifled appropriately for the regulatory context) considered
when determining whether to leave prosecution of a natural person to another jurisdiction or to seek non-criminal
alternatives to prosecution These factors include: the strength of the regulatory authority's interest; the regulatory
' authority's ability and willingness-to take effective enforcement action the probable sanction if the regulatory

authority's enforcement action is uphe|d; and the effect of a non-criminal disposition on Federal law enforcement
interests See USAM §§ 9-27.240, 9-27.250. '

X|. Charging a Corporation: Selecting Charges

A. General Principle: Once a prosecutor has decided to chargea corporation, the prosecutor should charge,

or should recommend that the grand jury charge, the most serious offense that is consistent with the nature of the
defendant's conduct and that is likely to result in a sustainable conviction

B. Comment: Once the decision to charge is made, the same rules as govern charging natural persons apply.
These rules require "a faithful and honest application of the Sentencing Guidelines" and an "individualized
assessment of the extent to which particular charges fit the specific circumstances of the case, are consistent with
the purposes of the Federal criminal code, and maximize the impact of Federal resources on crime." See USAM §
9-27.300. ln making this detennination, "it is appropriate that the attorney for the government consider, inter alia,
such factors as the sentencing guideline range yielded by the charge, whether the penalty yielded by such
sentencing range is proportional to the seriousness of the defendant's conduct, and whether the charge
achieves such purposes of the criminal law as punishment, protection of the public, specific and general
deterrence, and rehabilitation." See Attorney General's Memorandum, dated October 12, 1993.

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Xl|. Plea Agreements with Corporations

A. General Principle: |n negotiating plea agreements with corporations prosecutors should seek a plea to the
most serious readily provable offense charged. ln addition the terms of the plea agreement should contain
appropriate provisions to ensure punishment, deterrence, rehabilitation and compliance with the plea agreement
in the corporate context. Although special circumstances may mandate a different conclusion prosecutors

generally should not agree to accept a corporate guilty plea in exchange for non-prosecution or dismissal of
charges against individual officers and employees

B. Comment: Prosecutors may enter into plea agreements with corporations for the same reasons and under
the same constraints as apply to plea agreements with natural persons See USAM §§ 9-27.400-500. This
means inter alia, that the corporation should be required to plead guilty to the most serious readily provable
offense charged. As is the case with individuals the attorney making this determination should do so "on the
basis of an individualized assessment of the extent to which particular charges fit the specific circumstances of
the case, are consistent with the purposes of the federal criminal code, and maximize the impact of federal
resources on crime. ln making this determination the attorney for the government considers inter alia, such
factors as the sentencing guideline range yielded by the charge, whether the penalty yielded by such sentencing
range is proportional to the seriousness of the defendant's conduct, and whether the charge achieves such
' purposes of the criminal law as punishment, protection of the public, specific and general deterrence, and
rehabilitation." See Attorney General's Memorandum, dated October 12, 1993. ln addition any negotiated
departures from the Sentencing Guidelines must be justifiable under the Guidelines and must be disclosed to the
sentencing court. A corporation should be made to realize that pleading guilty to criminal charges constitutes an
admission of guilt and not merely a resolution of an inconvenient distraction from its business As with natural
persons pleas should be structured so that the corporation may not later "proclaim lack of culpability or even
complete innocence." See USAM §§ 9-27.420(b)(4), 9-27.440, 9-27.500. Thus for instance, there should be
placed upon the record a sufficient factual basis for the plea to prevent later corporate assertions of innocence.

A corporate plea agreement should also contain provisions that recognize the nature of the corporate
"person" and ensure that the principles of punishmentl deterrence, and rehabilitation are met. ln the corporate
context, punishment and deterrence are generally accomplished by substantial fines mandatory restitution and
institution of appropriate compliance measures including, if necessary, continued judicial oversight or the use of
special masters See USSG §§ 881.1, 8C2.1, et seq. ln addition where the corporation is a government
contractor, permanent or temporary debarment may be appropriate, Where the corporation was engaged in

government contracting fraud, a prosecutor may not negotiate away an agency's right to debar or to list the
corporate defendant

ln negotiating a plea agreement, prosecutors should also consider the deterrent value of prosecutions of

' individuals within the corporation Therefore, one factor that a prosecutor may consider in determining whether to
enter into a plea agreement is whether the corporation is seeking immunity for its employees and ochers or

whether the corporation is willing to cooperate in the investigation of culpable individuals Prosecutors should

rarely negotiate away individual criminal liability in a corporate plea.

Rehabilitation, of course, requires that the corporation undertake to be law-abiding in the future. lt is
therefore, appropriate to require the corporationl as a condition of probation to implement a compliance program
or to reform an existing one. As discussed above, prosecutors may consult with the appropriate state and federal
agencies and components of the Justice Department to ensure that a proposed compliance program is adequate
, and meets industry standards and best practices See section Vll, supra.

ln plea agreements in which the corporation agrees to cooperate, the prosecutor should ensure that the
cooperation is complete and truthful. To do so, the prosecutor may request that the corporation waive attorney-
client and work product protection make employees and agents available for debriefing, disclose the results of its
internal investigation file appropriate certified financial statements agree to governmental or third-party audits
and take whatever other steps are necessary to ensure that the full scope of the corporate wrongdoing is

disclosed and that the responsible culprits are identified and, if appropriate, prosecuted. See generally section
Vlll, supra.

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Footnotes:

1. While these guidelines refer to corporations they apply to the consideration of the prosecution of all types of

j business organizations including partnerships sole proprietorships, govemment entities and unincorporated
associations `

2. ln addition the Sentencing Guidelines reward voluntary disclosure and cooperation with a reduction in the
corporation's offense level. See USSG §8C2.5)g).

3. This waiver should ordinarily be limited to the factual internal investigation and any contemporaneous advice
given to the corporation concerning the conduct at issue. Except in unusual circumstances prosecutors should
not seek a waiver with respect to communications and work product related to advice concerning the
government‘s criminal investigation

4. Some states require corporations to pay the legal fees of officers under investigation prior to a formal

determination of their guilt. Obvious|y, a corporation's compliance with governing law should not be considered a
failure to cooperate.

5. Although this case and Basic Construcfion are both antitrust cases their reasoning applies to other criminal
violations ln the Hilton case, for instance, the Ninth Circuit noted that Sherman Act violations are commercial
offenses ”usua|ly motivated by a desire to enhance profits" thus bringing the case within the normal rule that a
"purpose to benefit the corporation is necessary to bring the agent's acts within the scope of his employment."

- 467 F.2d at 1006 & n4. ln addition in United States v. Automated Medical Laboratories 770 F.2d 399, 406 n.5
(4‘h Cir. 1985), the Fourth Circuit stated "that Basic Construction states a generally applicable rule on corporate
criminal liability despite the fact that it addresses violations of the antitrust laws."

6. For a detailed review of these and other factors concerning corporate compliance programs see United States

Sentencing Commission, GU|DEL|NES MANUAL, §8A1.2, comment (n.3(k)) (Nov. 1997). See also USSG
§8C2.5(f)

7. For example, the Antitrust Division's amnesty policy requires that "[w]here possible, the corporation [make]
l restitution to injured parties..." -

. http://Www.usdoj.gov/dag/cftt`/corporatc_guidelines.htm 4/2/2008

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EXhibit P

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IMONDAY FEBRUARY 5,: 2007

 

WH]TE-C()LLAR CRIME

 

The McNulty Memorandum

n the heels of mounting criti-

cism, the U.S. Department of

Justice (DO]) recently instituted

significant revisions to its corpo-

rate charging guidelines The
“Thompson Memorandum"_as the now
superseded guidelines were informally
known_had come fire from
several sectors including the business and
legal communities a federal judge and
Congress. Critics complained that the
Thompson memo was eroding the attor-
ney-client privilege and infringing on the
Fifth and Sixth Amendment rights of
employees who refused to cooperate with
the government’s investigation lndeed,
the din from such criticism led to the
question of whether the Thompson
memo would Survive. lt has nor. The
question now becomes whether the new
memorandum, named after the current
deputy attorney general, Paul McNulry,
will suffer the same fate, offering too little,

under

too late by way of necessary reforms
McNulty Memorandum, www.usdoj.gov/
dag/speech/ZOO6/mcnulty_memo.pdf.

The McNulty Memorandum

includes several revisions

The Thompson required
prosecutors to consider several factors in

me mO

 

Andi'ew Weissmann is a partner in the New
York office of ]enner &’ Blocl<, and Arla R.
Bl|gall is an associate in its Chicago office.
Weissmann is a former director of the Enron
Task Force and testified before Congress
concerning the Thompson Memorandum in
September 2006. Both are members of the
fi'rm’s white-collar criminal defense
counseling practice group.

and

By AndreW Weissmann
and Ana R. Bugan

 

determining whether to indict a company.
The most controversial one was whether
the company had cooperated with the
government’s investigation by agreeing
to waive the attorney-client and work-
product protections when asked by the
govemment. ln response to the criticism,
the McNulty memo institutes procedures a
prosecutor must follow before asking a
company for a privilege waiver. First, the
prosecutor must establish a “legitimate
need" for the protected materials

Parr of the legitimate-need calculation
is whether the information is available
from other. nonprivileged sources and the
degree to which the information will
benefit the government’s investigation
Moreover, if the waiver is sought for
attorney-client protected information and
nonfactual work product, the deputy
attorney general must personally approve
such waiver request in advance. And, in a
critical new provision even if the request
is approved, a company’s refusal to waive
the attorney-client privilege in the latter
circumstance may not count against it in a
charging decision

The McNulty memo also virtually
eliminates from a prosecutors considera-
tion another controversial Thompson
factor: whether a company is paying the

legal fees of employees who are under
investigation or have been indicted.
ludge l_ewis Kaplan in a ruling in the
KPMG tax-shelter fraud case, held that
this provision of the Thompson memo
infringes upon the Fifth Amendment due
process clause and the Sixth Amendment.
U.S. i). Stein, 435 F. Supp. 2d 330
(S.D.N.Y. 2006).

The McNulty memo’s rationale for the
elimination namely that many corpora-
tions are contractually obligated to
advance legal fees differs significantly
from Kaplan’s. Regardless of the Stated
rationale, however, the McNulty memo
takes this controversial factor off the table,
With one small exception The payment of
legal fees can be considered against a com-
pany if the “roraliry of the circumstances”
indicates that the advancement of fees is
part of an effort to impede the govern-
ment’s investigation Even then the new
guidelines require a prosecutor to obtain
approval from the deputy attorney general
before he or she can weigh the payment in
a charging decision

The McNulty memo is promising in
several important respects The revisions
will likely go far in curbing the “culture of
waiver”_the tendency of certain prosecu-
tors to demand blanket waivers at the very
outset Of an investigation or simply for
convenience's sake, even though the
could be obtained by
the government through nonprivileged
channels For instance, a prosecutor previ-
ously was permitted to seek memoranda of
employee interviews even though the
employees were available for the prosecu-
for to interview herself. The McNulty
memo states that “[a] legitimate need for
the information is nor established by
concluding it is merely desirable or

information

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convenient to obtain privileged infor-
mation." Also, the requirement that
prosecutors justify the need for a waiver to
their boss (or their boss’s boss) is likely to
make them reluctant to seek waivers in
borderline cases

The revised policy also increases the
prospect of greater uniformity across the
93 U.S. attorneys’ offices A significant
problem under the Thompson memo was
that it gave prosecutors a green light to
seek waivers but offered no guidance
about when it was appropriate to do so or
under what circumstances a company’s
failure to waive should be taken as nonco-
operation The considerable variances in
interpretation that resulted subjected
companies many of which are national or
international in scope, to the vagaries and
unreviewed decisions of an individual
prosecutor. which
establishes two senior officials at Main
_lustice_the deputy attorney general and
the assistant attorney general_as gate-
keepers holds out the prospect of a con-
sistent, national policy for waiver requests

Despite these salutary provisions the
McNulty memo is vulnerable to valid
criticism that it does not go far enough.
For instance, it is probable that companies
will continue to feel pressure to waive the
privilege because the McNulty memo still
gives “credit" to those companies that
waive. While a refusal to disclose legal
advice and attorney-client communica-
tions may not count against a company,
the same does not hold true for informa-
tion the government deems “purely
factual." Such information “may or may
not be privileged” and includes “purely
factual interview memoranda...factual
chronologies, factual summaries or
reports...containing investigative facts
documented by counsel.” A prosecutor
must first show a legitimate need for the
materials and obtain permission prior to
requesting the waiver. But if the company
refuses to waive, the prosecutor may
ultimately consider that refusal against it
in making a charging decision

The McNulty memo falls short of the
recommendations of Thompson memo
critics such as the American Bar Associa-
tion the Heritage Foundation and even
former senior DO] officials who called for
the complete elimination of waiver as a

The new memo,

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consideration in corporate charging
decisions Nor does it go as far as would
legislation first proposed by Senator
Arlen Specter, R-Pa., in December 2006
and reintroduced in january. Unlike the
revised guidelines the Attomey-Client
Privilege Protection Act would categori-
cally prohibit prosecutors from condition-
ing a charging decision on any valid
assertion Of the attorney-client privilege or
work-product protection regardless of

l
Memo disappoints

Thompson memo
critics, who called
for total elimination
of waiver as a
consideration in
charging decisions.
l

whether DO] deems the requested materi-
als upurely factual." Some have suspected
that the timing of the McNulty memo, just
five days after Specter introduced his bill,
is DO]’s attempt to pre-empt this more
far-reaching legislation which would
remove regulation of the waiver issue from

DO]'s hands.

McNulty safeguards do not
apply to voluntary Waivers

Under the McNulty memo, companies
are likely to continue to experience pres-
sure to waive privilege for another reason
The safeguards it lays out do not apply
when a company voluntarily waives the
privilege in the absence of a formal waiver
request. The pressure to make a voluntary
waiver may arguably be even greater than
it was before, as companies seek to obtain
favor with the government by eliminating
a prosecutor’s need to jump through the
hoops of securing a formal request. As long
as waiver weighs favorably in the balance1
coercive pressures will remain as will the

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negative impact on the ability of employ-
ees to have full and candid discussions
with counsel. Companies may at first blush
consider this a positive step. ln reality, it
serves to encourage waivers with little or
no concomitant benefit. A company`s vol-
untary privilege waiver will rarely be
determinative of the charging decision
This factor is overwhelmed by myriad oth-
ers such as the nature, severity and scope
of the criminal conduct, and a history of
recidivism. The McNulty memo also
fails to address another criticism of the
Thompson memo. Specter’s bill would bar
conditioning a charging decision on a
company’s failure to fire an employee
who to cooperate with the
investigation The McNulty memo leaves
the Thompson language unchanged

Perhaps the McNulty memo’s greatest
shortcoming is that it does not require
DO] approval of the most critical deci-
sion_whether to prosecute a company.
That determination remains in the hands
of individual prosecutors ln the post-
Enron world it is not too much of a stretch
to say, as did Kaplan in the KPMG case,
that an indictment could be a corporate
death sentence. Given these dire potential
consequences the decision to prosecute a
company should receive at least the same
review as the decision to seek privileged
materials_-namely, approval by the deputy
attorney general.

The greatest potential threat to the
McNulty memo's longevity comes from
Specter’s bill. Calling the DO]’s changes
“insufficient" and the new protections for
the privilege “inadequate," the senator
reintroduced his bill in january. The bill
has been referred to the Senate judiciary
Committee, but its members may well wait
and see how the revised guidelines play
out in practice. lf the memo succeeds in
dampening congressional resolve, DO]’s
limited concessions will have staved off
much-needed reforms

refuses

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EXhibit Q

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UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA : CRIMINAL NO. 4:CR-05_0402
v.

(JONES, J.)
JOHN J. RIGAS and

TIMOTHY J. RIGAS : ELECTRONICALLY FILED

REPLY BRIEF OF THE UNITED STATES IN SUPPORT OF
OBJECTIONS AND PROTECTIVE ORDER CONCERNING DISCOVERX
RELATED TO DEFENDANTS' MOTION TO DISMISS THE
INDICTMENT ON FIFTH AND SIXTH AMENDMENT GROUNDS

The RigaSeS clearly are using the motion to dismiss and
related discovery as a Stalking horse for a collateral challenge to
their fraud convictions in the Southern District of New York.
Despite a 79-page opposition brief and extensive discovery, the
RigaSeS have failed to Show any impairment of their SiXth Amendment
rights in this criminal tax prosecution resulting from Adelphia'e
actions in not advancing legal feeS. Instead they present
information derived principally from the Securities fraud
prosecution. and. the bankruptcy case in the Southern DiStrict,
which, far from impairing their defense in this case, have made
them much better prepared because of the readily available
testimony, exhibits, and discovery gained from those prior
proceedings. They have failed to Show that prosecutors in any Way
interfered With their SiXth Amendment rights in either the New York
case or this criminal tax matter. And by not raising them on

remand_ in the Southern District of New York, the RigaSeS are

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estopped from claiming that their defense is impaired in this case,
Some nine years after Adelphia decided not to advance the RigaSeS’

legal feeS.

l. The Rigases Have Failed to Show the Government Interfered
With Their Right to Counsel.

In United States v. Stein, the Second Circuit concluded that
the defendants had been deprived of attorneyS’ fees “aS a direct
consequence of the government’$ overwhelming influence” which
resulted in a violation of the defendants' SiXth Amendment rightS.
541 F.3d 130, 136 (Zd_ Cir. 2008). The Court found that the
government “forced KPMG to adopt its constricted Fees Policy” and
then “became ‘entwined in the ... control’ of KPMG in enforcing
that policy, ld. at 148. In contraSt, the RigaSeS have not Shown
that prosecutors in the Southern District of New York ever
interfered or influenced in any way Adelphia’S decision not to
advance legal fees to them. Nothing in the voluminous discovery
materials generated to date reveals any grounds to believe that
prosecutors ever tried to prevent the RigaSeS from funding their
defense of any criminal or civil action. ln fact, as represented
to the bankruptcy court, the prosecutors in the New York criminal
case never opposed or took any position against requests to the
bankruptcy court for orders allowing the RigaSeS to Sell assets to
fund their defense or make whatever arrangements they needed to

fund their defense. (Government Exhibit 2, p. 22-23)

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Moreover, while their arguments assume such knowledge, the
Rigases have not demonstrated that prosecutors knew of the Adelphia
Board’s decision to withhold advancement of legal fees before the
decision was made on June l, 2002. Based on discussions with
counsel having knowledge and information concerning the June l,
2002 Board meeting, the United States proffers that the prosecutors
were not even advised of Adelphia’s decision until after the Board
decided not to advance legal fees to the Rigases on June l, 2002.
Likewise, while it is certainly true that Adelphia and its
independent directors and management were acutely aware that the
company could be indicted, the Rigases have brought forth no
evidence, despite extensive pre-trial discovery, that Adelphia
declined to cover the Rigases’ legal expenses as a means to avoid
being indicted, or otherwise took such action at the government’s
request. The face of the Board minutes reporting the decision not
to advance legal fees plainly establishes two fundamental reasons
for not advancing legal fees: The Rigases failure to cooperate with
the Special Committee investigating their misconduct and the
astounding level of self-dealing by them. And both these grounds

are fully consistent with Adelphia's corporate by-laws.1

 

lSection 6.2 of the Adelphia By-laws specifically provided
that the Rigases were not entitled to advancement of defense
expenses if the Board of Directors or independent legal counsel
reasonably determines that [they] deliberately breached [their]
duty to the Corporation or its shareholders.” (Rigas Exhibit 9)

3

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The most the Rigases have come up with to show governmental
interference in the funding of their defense in New York is the
Covington & Burling letter dated August 9, 2002, in which lawyers
for Adelphia outlined the company’s compliance with the Holder
Memorandum and reasons why it should not be indicted. They make
much of language stating that the Holder Memorandunl had. been
followed “to the letter,” yet not every factor contained in the
memorandum is addressed in the Covington letter. For example, the
letter does not discuss such factors as restitution and
disciplinary actions against corporate employees (other than the
Rigases), considerations specifically identified ill the Holder
Memorandum.

But most important, despite the Rigases' claim. that it
constitutes “smoking gun” evidence of government pressure causing
Adelphia not to advance defense costs, the Covington letter is
strikingly silent on that very point. While it includes a nine-
page discussion of the Holder factors, the letter never mentions
the Board’s decision not to fund the Rigases’ defense, let alone
feature it as a reason for not prosecuting Adelphia. Likewise,
almost two years later, in a November 2004 presentation on the
Thompson Memorandum.factors to prosecutors in the Southern District
of New York, Adelphia's counsel again omitted any reference to the
company’s decision not to advance the Rigases legal fees.

Presumably, if Adelphia and its counsel truly sought to curry favor

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with the government by denying the Rigases the means to fund their
legal defense, that issue would have occupied a prominent position
in both the letter and presentation requesting that the Company not
be indicted. lnstead, that issue is never nentioned, even in
passing.

Contrary to its portrayal by the Rigases, the Holder
Memorandum, like the later Thompson Memorandum, did not require
prosecutors to consider whether a corporation has advanced
attorneys fees to its employees. ln fact, the Holder Memorandum
stated that advancement of legal fees may be considered in weighing
the extent and. value of a. corporation's cooperation. Yet if
Adelphia actually had denied the Rigases attorneys fees to avoid
indictment, as the Rigases maintain, one would expect their counsel
to emphasize that fact to prosecutors on both occasions when
Adelphia sought to avoid indictment. But instead the Rigases’ own
exhibits establish that Covington & Burling never even asked the
government to consider in weighing whether to indict Adelphia that
the company declined to advance funds to the Rigases for their
legal defense. lt made no sense for its attorneys to leave that
out of its presentations to the government on whether it should be
indicted, unless, of course, the company declined to advance legal
fees because of the Rigases’ misconduct, rather than to garner

credit with the government under the Holder factors.

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Equally dramatic, but no more persuasive, is the Rigases’
claim that in January 2005, following their convictions, Adelphia
again succumbed to pressure exerted by the government with respect
to the so-called Rigas Managed Entities, or RME’s. The Rigases
contend that prosecutors threatened to indict those entities in an
effort to prevent Adelphia from providing the Rigases with legal
fees. However, they fail to mention the context in which
discussions concerning a possible indictment of the RME’s arose:
As the Rigases' own exhibits show clearly, indictment of the
managed entities and Adelphia represented a means to render those
assets forfeitable, or otherwise recoverable, as restitution to the
victims in the face of the bankruptcy action contemplated by the
creditors’ committee. (Rigas Exhibit 23, p. 3-l2) Counsel who
participated in those discussions reported that the creditors’
committee in the Adelphia bankruptcy proceedings had threatened to
put the RME's into bankruptcy, an action that would have tied up
assets held by those entities as a source of restitution to victims
and for satisfying the $2.5 billion forfeiture judgment against the
Rigases in connection with their pending sentences. (Rigas Exhibit
23, p. 3) lndeed, Adelphia devoted_ an entire a slide show
presentation to an analysis of the economic impact and other
consequences of criminally forfeiting the RME’s. (Rigas Exhibit
23, Ex. 2 p. 3) Thus any discussion of indicting Adelphia or the

RME’s which occurred after the Rigases’ conviction and the jury’s

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forfeiture finding focused on ensuring that the potential
bankruptcy of the RME’s did not prevent the recovery of
restitution, rather than curtailing funding for the Rigases’ legal
defense.

The Rigases' effort to spin threads of governmental
interference from notes and minutes of Board meetings are not any
more convincing. For example, the Rigases maintain that the May
18, 2002 minutes show that the Board. was concerned that the
government would “not permit” payments to the Rigases. However, it
is clear that the Board was considering severance payments
following their termination as corporate officers, not the payment
of legal expenses as the Rigases maintain. (Rigas Exhibit ll)
More important, in connection with the issue of severance payments,
the Board focused on the level of cooperation by John and Tim Rigas
with the Special Committee investigation and the pending request by
the committee to interview them. (Rigas Exhibit ll) Rather than
demonstrating any government interference, what the minutes really
show is the failure of the Rigases to cooperate with the company's
investigation of their wrongdoing, a factor that weighed heavily in
the Board's decision not to fund the Rigases’ legal defense.

The May 18, 2002 minutes make abundantly clear that the level
of the Rigases’ cooperation with the Special Committee
investigation, or lack thereof, was a cause of considerable concern

to the Board. In fact, counsel for the Special Committee

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“reiterated” the committee's “request for interviews of the Rigas
Family” and emphasized that the “palatability” of severance
payments to the Rigases (not indemnification as the defendants
maintain) “would depend on the family's ability to cooperate with
the investigation of the special committee.” (Rigas Exhibit ll, p.
2) Referring to the question of severance arrangements, counsel
for the committee stated that “the government might not permit that
type of arrangement if the members of the Rigas Family did not
cooperate with the investigation of the Special Committee.” ld.
But significantly in offering that prediction, Adelphia's counsel
never stated that prosecutors had made any demands with respect to
the issues of severance, let alone indemnification for legal fees.
Similarly, notes about prosecutors being “appalled” clearly refer
to the proposed severance package and retention of board seats by
the Rigases -- in the face of public disclosure of their wrongdoing
--- and not to the advancement of legal expenses. (Rigas Exhibit
3l) And a reference to the fact that the government “[m]ay indict
the Company” expressed what was obvious to Adelphia management in
May 2002 - indictment of the company was certainly a possibility in
light of the breadth and flagrancy of the Rigases' self-dealing and
looting of corporate funds. (Rigas Exhibit Bl)

The Rigases also attempt to characterize certain notes and e-
mail messages as revealing the government’s purported displeasure

with Adelphia over payments to the Rigases. However, references to

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“the need to stop the flow of funds” to the Rigas family clearly do
not concern the payment of the Rigases’ legal defense costs by
Adelphia. lnstead, they center on prosecutors’ and SEC regulators’
understandable concern about the full disclosure of the Rigases’
related party transactions involving millions of dollars in
Adelphia funds, including the use of $200 million in co-borrowed
funds to cover the Rigases’ personal margin loans, the need to
ensure repayment of the corporate funds diverted by the Rigases,
and the implementation of measures to prevent the Rigases from
engaging in additional transfers of funds and other misconduct.

(Rigas Exhibit 26) The notes thus reflect discussions with
prosecutors concerning the dissipation of corporate assets by the
Rigases and not any effort to curtail their right to counsel.

Likewise, an e-mail message between Adelphia’s counsel and a
prosecutor is portrayed as revealing the company's attempt “to
appease” the government, when it simply refers to a release being
prepared ill August 2002 for employees cmi administrative leave
covering such issues as return of corporate property and records
and its impact on records already provided to the government by
Adelphia employees - an event occurring well after the Board’s
decision denying advancement of legal fees to the Rigases - and an
agreement concerning interviews of employees cooperating with the

on-going criminal investigation.

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Unlike the facts in United States v. Stein, the Rigases have
not demonstrated any connection between the conduct of prosecutors
and the decision of Adelphia to decline to advance legal fees for
their defense. Nothing in the record indicates that the
prosecutors in the Southern District of New York raised the subject
of advancing legal fees in discussions with Adelphia officials, let
alone that the advancement of fees would be held against the
company in any manner. ln Stein, the district court found that but
for the government interference, KPMG in that case would have
advanced unlimited legal fees to the defendants. 541 F.3d at l46.
District courts applying Stein have emphasized that defendants must
show that prosecutors and regulators “significantly encouraged”
termination of legal fees, “became entwined in the control” of
corporate decisions denying attorney's fees to employees, or
otherwise wrongfully interfered in a defendant's right to use his
funds to retain the counsel of choice, or that a decision to
terminate legal fees was the “direct consequence of the pressure

applied by” the Thompson or Holder memoranda. See United States v.

 

Balsinger, 2009 WL 2750673, *3-*4 (E.D. Wis. 2009)(record did not
show government coercion was “sole cause” of company's decision to
limit payment of defendants’ legal defense fees; nothing to show
that prosecutors raised the subject of legal fees with company or
indicated that advancement of fees would be used against company);

SEC v. Dunn, 587 F.Supp.2d 486, 512-513 (S.D. N.Y. 2008)(no facts

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showing that decision to terminate employee's legal fees was
“direct consequence” of Thompson Memorandum or SEC “significantly
encouraged” or became “entwined” in decision-making process);
United States v. Rosen, 487 F.Supp.2d 721; 726 (E.D. Va.
2007)(allegation that government pointedly asked employer at
meeting' if it was paying employee defendants’ legal fees and
indicated employer should cease paying fees enough to show wrongful
interference with right to counsel). Here, the Rigases have not
produced any records even suggesting that Adelphia would have
advanced attorneys fees to the Rigas in the absence of the Holder
memorandmn or that prosecutors pressured Adelphia to deny the
advancement of attorney's fees to the Rigases or any other
employee, or otherwise involved themselves in the control of
Adelphia or the decision not to advance attorneys fees.
Accordingly, additional discovery will have no appreciable
impact in resolving the Rigases’ motion to dismiss on Sixth
Amendment grounds. Even assuming arguendo that Adelphia believed
it was complying with the Holder memo by not funding defense costs
- a prospect belied by the Covington & Burling presentations - the
Rigases have failed_ to show that government conduct pressured
Adelphia to withhold advancement of legal fees. Nor have they
shown that but for any government conduct Adelphia would have
unconditionally funded their criminal legal defense in view of

information available at the time concerning their sweeping

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diversion of corporate funds for their personal gain and their
failure to cooperate with the Board's investigation of their
conduct. ln short, the discovery produced to date shows that
Adelphia’s decision was the direct consequence of the Rigases’

criminal conduct, not any actions or influence by the government.

2. The Bankruptcy Court Proceedings, the Fraud Conviction, the
Rigases' Failure to Raise their Stein Claims on Remand to
the Southern District, and the Adelphia-Rigas Settlement
Estop the Rigases From Seeking Relief in this Criminal Tax
Prosecution.

The bankruptcy court decisions holding that Adelphia was not
required to indemnify them for defense costs, their conviction for
securities and.bank fraud, the post-conviction settlement agreement
and their failure to raise their Stein claim on remand in the New
York criminal case undermine the Rigases' motion for dismissal of
the pending criminal tax charges in this case. Despite claiming
that their right to counsel was impaired when Adelphia decided not
to advance their legal fees, the Rigases have acknowledged in
bankruptcy proceedings that they were not entitled to have their
defense costs paid out of Adelphia assets. As Judge Lynch stated
in deciding appeals by the Rigases and Adelphia from a temporary

restraining order issued in the bankruptcy proceeding, all parties

to that action “acknowledge that the Rigases are not entitled to

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have their defense costs paid out of Adelphia assets ... fm
Adelphia Communications Corp. v. Riqas, 2004 WL 2186582, *13
(September 27, 2004 S.D.N.Y). Judge Lynch vacated an order of the
bankruptcy court directing Adelphia to release $12.8 million from
the RME’s to the Rigases for criminal defense costs and remanded
for further proceedings. ld. at *13-*14. Following remand to the
bankruptcy court for determination of whether the Rigases had some
legal entitlement to the managed entities’ cash flow, Judge Gerber
further emphasized that the bankruptcy court had previously
determined that it would not direct Adelphia to spend any of its
own funds for the Rigases’ defense, and “neither side has quarreled
with this view.” ln re Adelphia Communications Corp., 323 B.R.
345, 394 (S.D.N.Y. 2005). ln fact, Judge Gerber specifically found
that the managed entities could make the payments of the $12.8
million “without tapping Adelphia itself.” ld. at 394.

However, Judge Gerber determined that because of their
convictions on the New York fraud charges the Rigases were not
entitled to indemnification. ld. at 379. Judge Gerber further
found that in light of the jury verdicts, neither John nor Timothy
Rigas acted in good faith and that the jury verdicts “trumped” the

Rigases’ declarations that they acted in good faith without

 

2lndeed, in their motion to modify the temporary restraining
order to permit funding of criminal and civil defense costs, the
Rigases were “not requesting that Adelphia pay for their criminal
and civil defense costs.” (Rigas Exhibit 41 p. 8)

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reasonable cause to believe they were acting unlawfully. ld. at
389. lndeed, Judge Gerber agreed. that “it was ‘surreal and
imaginary’ for the Rigases to conclude that after a jury verdict
there was ‘no reasonable cause to believe that they had acted
illegally.’”

The Rigases have not satisfactorily accounted for how the
funds disbursed for their civil and criminal defense through the
bankruptcy proceedings - up to $38 million paid from the managed
entities - were insufficient for them to prepare a defense, whether
in this case, or in the New York prosecution,3 §§e ld. at 362.
Nor have they mustered a sensible explanation of why, despite their
own acknowledgment in the bankruptcy proceedings and the jury
verdicts in the Southern District of New York, Adelphia’s action in
declining advancement of legal fees for their defense was
unjustified. Surely if their convictions for fraud preclude
indemnification for criminal defense costs in the Southern District
of New York by the managed entities in which they had a legal
interest, the Rigases could not have reasonably expected to have

their legal defense costs in this case covered by Adelphia. The

 

3Perhaps the answer lies in the discovery requested by the
United States from the Rigases, specifically billing records for
legal fees incurred by the Rigases and the RME’s in connection
with the New York criminal prosecution, the bankruptcy
proceedings, and this case. That discovery, however, has not
been produced yet. The United States reserves the right to
supplement its protective order motion following production and
review of those materials.

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bankruptcy decisions authorizing the disbursement of funds from the
managed entities sought to balance the interests of Adelphia and
the Rigases’ right to use the RME's to fund their defense. But the
Rigases cannot blame prosecutors when they run out of the many
millions of dollars allocated through the bankruptcy court and the
global settlement agreement negotiated by them to pay for their
criminal defense.

Significantly, the Rigases failed to raise their Sixth
Amendment claims in the Southern District of New York, where the
alleged improper deprivation of legal fees originated. Following
an appeal of the fraud convictions, their case was remanded on May
24, 2007 to Judge Sand in the Southern District of New York for
resentencing. Although United States v. Stein, 435 F.Supp.2d 330
(S.D.N.Y. 2006) had been decided by then, the Rigases failed on
remand to raise their Sixth Amendment arguments in conjunction with
renewed challenges to their convictions on other legal grounds.
The Rigases had the opportunity to bring their claims under the
Sixth Amendment via post-trial motions, but chose not to raise them
with Judge Sand. lnstead, the Rigases waited until 2008 to file
their motion to dismiss in this case, despite the fact that most of
the relevant evidence and witnesses reside in the Southern District
of New York and the alleged conduct that they complain of occurred

there in 2002.

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Nor can the Rigases credibly complain about an alleged
impairment of their right to counsel in this case, when they agreed
to the creation of a legal defense fund. in entering into a
comprehensive settlement agreement with Adelphia and the United
States Attorney for the Southern District of New York which settled
all forfeiture claims and related. bankruptcy claims, a global
agreement approved by the bankruptcy court and the district court
and entered into by the Rigases, their family members, and the
RME’s. Significantly, the Rigases were well aware of this pending
criminal tax prosecution in April 2005 when they entered into the
settlement with Adelphia and the government which created their
$11.5 million legal defense fund. Their counsel met with members
of the Tax Division and the United States Attorney’s office for
this district concerning the instant charges on or about January
24, 2005. They thus entered into that agreement with full
knowledge of the need to fund a legal defense in this district.
They further agreed to the transfer of assets in which they had an
interest knowing that those resources would be forfeited in
connection with the New York fraud convictions and. no longer
available to finance their legal representation in this case.
Accordingly, the Rigases are estopped from seeking dismissal of
this case because they are running out of money for legal fees,

when the circumstances giving rise to their financial position are

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the product of their own settlement negotiations in the New York
prosecution and ultimately their own criminal conduct.

lf the discovery permitted to date establishes anything, it
is that the Rigases’ claims should have been presented in the
Southern District of New York. That is where most of the evidence
and witnesses concerning Adelphia's decision not to advance their
legal fees reside. And that is where the bankruptcy case was filed
and proceedings conducted which largely determined the amount and
the manner in which legal fees were paid to the Rigases from the
RME’s. Accordingly, the Court should not give the Rigases further
opportunity to take discovery on an issue that best lay in the
Southern District of New York.
3. The Rigases Have Failed to Establish How Their Defense in

This Criminal Tax Case Has been Impaired.

The many millions of dollars received by the Rigases to fund
their civil and criminal defense costs, mark a dramatic difference
between the facts in this case and the Stein decision so heavily
relied upon by them. ln Stein, the district court found that the
defendants were denied the counsel of their choice based on KPMG’s
decision not to fund their defense. By contrast, in the New York
fraud case the Rigases had the benefit of preeminent white collar
criminal practitioners, distinguished counsel chosen by them. The
Rigases entered into a joint defense agreement with each other and

co-defendants Mulcahey and Michael Rigas which specifically

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provided for the sharing of documents, reports, memos, interviews,
and work product. They also had the benefit of appellate counsel
of their choosing to represent them in two appeals of the New York
convictions. Unlike the defendants in §t§in who were cut off from
funds to pay counsel chosen to represent them, the Rigases received
millions of dollars authorized through the Adelphia bankruptcy
proceedings to pay attorneys selected by them. §f. United States
v. Rosen, 487 F.Supp.Zd at 734-735 (notwithstanding government
interference that allegedly led. to loss of fee payments, no
prejudice to defense where counsel chosen by defendants remained
fully engaged in case and provided zealous and very effective
defense).

The discovery developed until now has failed to establish that
any governmental conduct influenced.Adelphia’s decision to withhold
advancement of legal fees to the Rigases, or that the Rigases were
denied the counsel of their choice, While the Court permitted
discovery in connection with the motion to dismiss before briefing
on the substantive motion to dismiss was completed?, it is evident
that additional discovery will not alter the fact that Adelphia

decided to withhold advancement of legal fees based on the Rigases’

 

4The Court had held the briefing schedule in abeyance
pending the Rigases’ interlocutory appeal. The Court authorized
discovery during a telephone conference call with counsel to
address scheduling issues following remand from the Third
Circuit. At that time, briefing was not complete on the motion
to dismiss, which had sought both dismissal of the indictment and
discovery in connection with that request.

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misconduct and not as a result of any government action. lnstead,
continued discovery represents an effort to chum the waters in this
case to facilitate a fishing expedition for evidence and witnesses
to mount a collateral challenge to the New York conviction. The
Rigases already have received numerous documents from the United
States and. four law firms, including Fried, Frank, Shriver &
Jacobson, Boies, Schiller & Flexner, Covington & Burling, and Reed
Smith, none of which conclusively show that Adelphia’s decision not
to advance attorneys’ fees resulted from any governmental
misconduct. lf those records had. contained. any information

proving that Adelphia's decision was “a direct consequence of the
government’s overwhelming influence,” in the word of the Stein
case, surely the Rigases would have produced it instead of the
loose tapestry of speculation, layered innuendo, and hyperbole
presented in the response to the motion for protective order.

Accordingly, the United States requests the Court to halt any
further discovery on the motion to dismiss and enter an order

scheduling briefing on the substantive issues raised in the motion.

Respectfully submitted,

PETER J. SMITH
United States Attorney

s/George J. Rocktashel
GEORGE J. ROCKTASHEL
Assistant United States Attorney
Attorney l.D. #PA44922
Date: April 29, 2011

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UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA : CRIMINAL NO. 4:CR-05-0402

v.
(JONES, J.)
JOHN J. RIGAS and :
TIMOTHY J. RIGAS : ELECTRONICALLY FILED

CERTIFICATE OF SERVICE

The undersigned hereby certifies that he is an employee in
the Office of the United States Attorney for the Middle District
of Pennsylvania and is a person of such age and discretion to be
competent to serve papers. That on this Friday, April 29, 2011,
he served a true and correct copy of the foregoing

REPLY BRIEF OF THE UNITED STATES IN SUPPORT OF
OBJECTIONS AND PROTECTIVE ORDER CONCERNING DISCOVERY
RELATED TO DEFENDANTS’ MOTION TO DISMISS THE
INDICTMENT ON FIFTH AND SIXTH AMENDMENT GROUNDS

by electronic means by sending a copy to each of the e-mail
addresses stated below:

AND[OR

by placing said copy in a postpaid envelope addressed to the
person(s) hereinafter named, at the places and addresses stated
below, which is the last known address, and by depositing said
envelope and contents in the United States Mail in Williamsport,
Pennsylvania.

Addressee: Joseph U. Metz, Esquire
112 Market Street, 8th Floor
Harrisburg, PA 17101

Lawrence G. McMichael, Esquire
1735 Market Street, Suite 3200
Philadelphia, PA 19103

Dated: April 29, 2011 s/George J. Rocktashel
GEORGE J. ROCKTASHEL
Assistant United States Attorney
Attorney l.D. #PA44922

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l E:hibit R

 

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PRESS RELEASE

FOR REI.EASF_' DdMEDIATI-Z

CONTAC'I`S.' Karcn Chrosniak, Di.rector Of Investor Relah`ons
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Jim Brown, Vtec Presidf:nt, Ftnanoc
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ADELPHIA COM]V|UNICAT[ONS ANNOUNCES FOURTH OU,ARTER ANI) FULL YEAR 2001
RESUL'I`S

Management Increascs 2002 Guidance for Digltal and Data Deploymenrs
t
Coudersport, PA - March 27, 2002

John J. Rigas, Chair'man and CEO of Adclphia Communications Corporation ("Adclphia"), (NASDAQ:
ADLAC) reported the results of operations for the fourth quarter and full year ended December 31, 2001.
The Company’s consolidated results reflect the activity ofAdelphia Business Solutions, Inc. (“ABIZ”), a 79%
owned subsidiary, as of December 31, 2001. On January ll, 2002, Adclphia completed its spin-offofABIZ
via a common stock distribution to Adelphia’s common shareholders

Consolidated Rrsults

For the year ended December 31, 2001, the Company reported consolidated revenues of$3.580.1 million, a
23% increase from the $2,909.4 million reported in 2000. Consolidatcd EBITDA increased 29% to
$1,409.4 million from the 31.089.4 million reported in 2000. Fourth quarter of 2001 results showed record
consolidated revenues of$950.0 million compared with $804.6 million for the quarter ended December 31.
2000 while consolidated EBITDA grew to $395.3 million compared with 5275.9 million for the quarterended
December 31, 2000. Consolidatcd net loss applicable to common stockholders for the year ended December
31, 2001 totaled 31,711.8 million, or $9.73 per sharc, compared to 3602.5 million. or $4.45 per sham for
the same period in the prior year. The increase in t.he net los for the year ended December 31, 2001 is
primarily attributable to a 51,152.7 million impairment write-down related to certain asses of ABIZ as
required under generally accepted accounting principles 'Hte impact of this impairment write-down
amounted to $6.55 per share for that period.

     
      

GOVERNMENT
EXHIBIT

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02 Cr. 1236(1,35) (|D)

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Cable Opcrations

Onapro forma basis.asifall acquisitions and divestiuneswhichhadclosedasochcember 31,2001 had
occurred on January l, 2000, basic cable subscribers grew 0.5% to 5,810,253 during the twelve-month
period ended December 31, 200]. Adelpltia’s digital subseribcrbasc grew from 945,796 to 1,8']9,044 and
its high-speed data subscriber base grew from 150,9-06 to 377,510 on this same basiS.

AS a result of this growth, Adelphia's cable operations achieved pro forma annual gros revenue and EBlTDA
growth rates of 9.2% and 113%, respectively, compared to the December 31, 2000 year. Excluding the
impact of nonrecurring revenue and charges, full year operating margins were 44.9% as compared to 44.0%
a year ago.

On that same pro forma basis and excluding the impact ofnon-recurring revenue and charges Adclphia‘s
cable operations forthc fourth quarter of 2001 resulted in gros revenue and EBITDA growth of 9.2% and

19.7%, respectively, as compared to the fourth quarter onOOO. 'Ihe Company reported operating margins
for the fourth quarter of45.5% as compared to 41 .5% a year ago. `

'l`imothy Rigas, CFO of _Adelphia commented “We are pleased with the results we have delivered for 2001.
During dreycar,wemadesigrutiemtpmgressrebuildingourcableqstemsarxi deliveringgrowthinnew
product deploymeuts while maintaining our focth on strong operating results We have continued to priorich
our plant rebuild project, building down to less than 150 homes per node, which we believe will provide the
platform for new product deployments and interactive ventures as well as expand our reach to new data and
digital suhscn' `bers."

"During 2001, Adelphia condoned its small deployment of new services including the strong roll-out of
Adelphia Digital Cable as well as our high-speed data product. Power Link. We ended the year with almost
1.9 million digital boxes deployed adding over 900,000 subscriptions for the ycar. During the fourth quarter
of 2001, we continued to increase our digital penetration with quarterly additions of approximately 197,000
units or an average of over 15,000 adds per weelc. We have continued to aggressiver market our bundled
product, Adelphia Advantage, adding new product choices which has provided our customers with more

choice and value Ar the end of the first quarter of 2002, we expect to report digital subscriptions of over 2.2

Tim Rigas timber commented, "We continue to be extremely excited about the growth prospects for our high-
speed data product. We added over 62,000 cable modern subscribers during the quarter averaging about
4,800 adds per week. We finished the year with over 377,000 high-speed data customers, representing a
penetration of marketable homes of almost 8%. On a pro forma basis, data revenues have almost tripled from

the year 2000 and during the fourth quarter of2001, represented over 25% of our total cable revenue
growth,"

“During the fourth quarter we also successfully transitioned about 45,000 data customers nom the Excite
@Home network to Adelphia’s Power Link. The process ofmigrating these customers went smoothly, with
nearly all of our urstomers using Adelphia as their internat service provider. As a result of our plant rebuild
project and new marketing initiatives including expanding our retail presence and continuing to market our
bundled offerings, we firmly believe that our high-spwd data deployments will amtioue to accelerate
throughout 2002. We expect to report over 475,000 data customers as of the end of the first quarter 01'2002
resulting in about 100,000 data adds timing the first quarter. This deployment rate represents an increw: in
new customer adds ofovcr 60% from that ofthe fourth quarter of2001. As such, we continue to be very
optimistic with respect to the revenue and EBlTDA contributions from this product throughout the next year."

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Management Guidancc for 2002

“Wc expect pro forma revenue and EBITDA for the full year 2002 to grow between 12.0%-13.0%,
respectively, as compared to pro fortna 200| results Given our contirured efforts to rebuild and open up our
planttonewcustomers, we are irictcasingour2002 digital anddata subscriberguidanceto 2.7 million digital
subscriptions and 775,000 high-speed data customers Wc also expect basic subscriber growth to be

comistcnt with 2001. We believe our strong track record of solid operating results, a solid collection of cable
' assets and a stronger balance sheet will provide the framework for accelerated growth rates and new
opportunities for 2007_"

ln an unrelated matter, Adelphia's former nrbsidiary ABIZ (along with several ofits subsidiatics) filed in
banltruptcyeomt for reorganizationundchhapter ll. Adelphiawillbe iilinga Form 8-Kwiththe Securities
and Exchange Corrunission with respect to this.

Ccrtain statements in this press release are forward-looking statements that are subject to material risks and
uncertainties Investors are cautioned that any such forward-looking statemenb are not guarantees of future v
performance or results and involve risks and uncertainties and that actual reads or developrnents may differ
materially from those expressed or implied in the forward-looking statements as a result of varioth factors
whicharediscussed intheCorrq:any’sfrlingswiththeSecuritiesand Exchange Commissiorr. 'l`hserisksand
uncertainties include, but are not limited to, mcenainties relating to general economic and business conditions
acquisitions and divestiurres, the availability and cost of capital, government and regulatory policies the pricing
and availability ofequipmcnt. materials1 inventories and programming product acceptance and customer
spending patterns, the Company's ability to execute on its business plans and to construct, expand and
upgrade its networks, risks associated with reliance on the performance and financial condition of vendors and
customers technological developments changes in the competitive envirorunent in which the Company
operatcs, and matters relating to or in connection with the recent bankruptcy filings and proceedings of
Adarpvia am seruao¢e, lnc. minimal adamson regarding risks, meantime ana other factors mar
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Securities and Exchange Comrnission, including the Forrn 8-K filed for the event dated January 16, 2001, the
most recently filed Quarterly Report on Fonn lO-Q, the Fonn lO-K for the year ended December 31, 2000,
the upcoming Form lO-K to be filed for the year ended December 31, 2001, andthc most recent prospectus
supplement filed under Registration Statement No. 333-64224, under the section entitled “Risk Factors”
contained therein The Company does not undertake to update any forward-looking statements in this press
release or with respect to mattch described hcrein.

Adelphia will hold its quarterly conference call with investors on March 27, 2002 at l0.00arn Eastem
Standard Time. The conference call can be accessed by dialing l-973-633-1010. A telephone replay of the
conference call will be available immediately following the call and througr April 3, 2002. To am the
rcplay, please dial 1-973-341-3080 (passcode 3178169). In addition, the call will be broadcast live via the
lntemct at www.adelphia.com A recording of the conference call will be available on the Company’s website
from March 27, 2002 through April l0, 2002.

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Adelpbh excluding ABIZ.

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own 145,729 13_6.121 -6.6% 151.044 141.060 -6.6%

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ngnmming 668,8| l 831,758 24.4% 769,048 871,535 \ l.s'/.

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P»ge 1 of 5
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dion-recurring revenue (4) 0 45,266 ° 0 45.266 ‘
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EXhibit S

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l\/lY PROF|LE
From Times Online

April 28, 2007

Beware the long arm of American law

Two former US attorneys have a stark warning for
everybody who works in the City

Cari l\/lortished, international Business Editor

Richard Owens’s eyes follow my scribb|ed notes as he talks. He is a former assistant US attorney
in the Department of Justice (DoJ), most recently head of the securities fraud unit in l\/lanhattan,
and his gaze is penetrating Name a famous American white-collar criminal case and l\/lr Owens
and his team were probably probing and prosecuting Think Bernie Ebbers, Frank Quattrone and
l\/lartha Stewart.

l\/ly scribbles become more chaotic and messy and his stare becomes more intense. Are my
notes accurate? What if l\/lr Owens subpoenas the notebook as evidence? Will l have to read my
scribbles in couit? `

He and Sean Berkowitz, also a former assistant US attorney and a lead prosecutor in the Enron
trial, have quit game-keeping for the more lucrative world of poaching in Latham & Watkins, a big
American corporate law firm.

Are they in London to tell British businessmen to beware the long arm of the DoJ? “lt’s probably
less of a threat, now that we are not there,” l\/lr Owens says.

These guys are quick on their feet, but look slightly uncomfortable in the swish but sterile
corporate environment of Latham & Watkins’s City offices You want to see them in a drab
government oche with venetian blinds, strip lighting and stale coffee in plastic cups.

l\/lr Owens is dry, l\/lr Berkowitz the more ebullient. The latter became famous for his theatrical
presentation at the summation of the Enron trial last year, when he held up a placard to the jury
with the words “`l`ruth” and “Lies” boldly displayed in black and white. “You get to decide what’s
right,” he told the jurors. “You get to decide whether they told the truth or whether they told lies.
Black and white.”

They decided: lies. Jeffrey Skilling, Enron’s president was convicted on 19 counts of conspiracyl
fraud and insider trading. Kenneth Lay, the chairman, was convicted of six conspiracy and fraud
counts.

The defence spent $100 million on the case but, according to l\/|r Berkowitz, the prosecution’s
strategy was not to get embroiled in the nightmarish complexity of Enron’s business in an attempt
to criminalise aggressive business practices. “We tried to avoid that,” he says. “Virtually all of
those complicated transactions were approved by outside lawyers.” lnstead, the strategy was to
get them on “simple lies”.

Those little fibs that you told your accountant will hang you in the end. The fraud cases that end
up in a media scrum outside a court can start in various ways, l\/lr Owens says. lt can be a

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company that runs out of cash, as With Enron, or a whistleblower, as happened with both Enron
and WorldCom.

l\/|ore often than not, it starts with a newspaper article. Every morning, l\/lr Owens says, he
scrutinised the financial pages looking for people to subpoena lt was a banal report in The Wa//
Street Journa/ about a sale of stock in lmClone Systems, a pharmaceutical company, just days
before the US Food and Drug Administration declined to approve a drug that led to l\/lartha
Stewart, the television personality, serving a Hve-month jail term for obstruction ofjustice. lV|r
Owens says: “l circled the article With a red pen, walked down the hall with The Wa/l Street
Journa/ under my arm, found a prosecutor and said: ‘This stinks1 cut some subpoenas.’ Next
thing we knew, l\/|artha Stewart was in our office, lying.”

Telling your lies in Europe won’t necessarily help youl according to the two former prosecutors,
who point to an increasingly aggressive assertion ofjurisdiction by the DoJ. Three British bankers
are awaiting trial in Texas on Enron-related allegations, while lan Norris, the former chairman of
l\/lorgan Crucible, is appealing to the House of Lords against extradition to the United States in a
price-fixing case. lf you work for an American company, or if your company has issued stock in
the US or is listed in the US or takes part in a cartel that affects the US, the DoJ reckons that you
are in its bailiwick and are fair game.

“The US is looking to enforce the full extent of its jurisdiction,’l l\/|r Berkowitz says.

That includes the Foreign Corrupt Practices Act, which was used against Statoil, the Norwegian
oil company, which was accused of bribing iranian officials. ln the first half of last year, 50
prosecutions were launched in America under the Act. That compares with nil prosecutions in the
UK and one notable retreat- the British Government’s decision not to pursue BAE Systems’s
alleged bribery of Saudi officials.

lV|r Owens believes that this could change "lf l were to predict a trend, the increasing aggression
of US prosecutors will prompt Europeans to pursue a similar strategy," he says. "lf you are a
regulator, the last thing you want is for the public to think you are asleep at the wheel. That could
result in a competitive race [to prosecute]1 which would be very bad for businesses.”

The US is pursuing white-collar crime with zeal. lt is politically popular and makes good television.
For l\/lr Owens, occasionally it meant curbing the enthusiasm of his own staff in high-profile cases.
“lt was a real challenge to keep the egos of my subordinates in check,” he says. He did it by
keeping his own media appearances to a minimum and by “reminding them of who they really
are”.

l\/lany more fraud cases may be on the horizon, the two men reckon, as the economic cycle turns.
ln the 1990s boom, it was stock market manipulation, often involving traditional crooks and “the
l\/lob". Then it was Enron and WorldCom as the dot-com bubble burst. A new downturn will lead to
a new flight of capital, accounting scandals and fraud as desperate people try to keep their
finances afloat. l\/lr Berkowitz reckons that the debacle in the sub-prime mortgage market is
already fruitful territory.

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White-collar crime is rarely about greed, in the opinion of the former prosecutors. “lt is generally
hubris,” lV|r Owens says “lt’s a corporate culture that is detached and guarded by advisers who
never challenge.”

The partners

Sean Berkowitz a litigation partner in Latham & Watkinsl Chicago, graduated from Harvard Law
School and was previously director of the Enron task force for the US Department of Justice. He
served as lead prosecutor in the case against Kenneth Lay and Jeffrey Skilling

Richard Owens a partner in Latham & Watkins, New York, is a graduate of Harvard Law School.
He served 12 years as assistant US attorney in New York‘s Southern District and was chief of the
securities and commodities fraud task force between 2002 and 2006. He supervised prosecutions
relating to WorldCom, Adelphia Communicationsl l\/lartha Stewart and Royal Ahold

